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Front cover: Historical reconstruction process using data, information sources,
and water-modeling techniques to estimate historical exposures

Maps: U.S. Marine Corps Base Camp Lejeune, North Carolina; Tarawa Terrace area
showing historical water-supply wells and site of ABC One-Hour Cleaners

Photographs on left: Ground storage tank STT-39 and four high-lift pumps used to
deliver finished water from tank STT-39 to Tarawa Terrace water-distribution system

Photograph on right: Equipment used to measure flow and pressure at a hydrant
during field test of the present-day (2004) water-distribution system

Graph: Reconstructed historical concentrations of tetrachloroethylene (PCE) at selected
water-supply wells and in finished water at Tarawa Terrace water treatment plant

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NT OF HEALTH & HUMAN SERVICES

cr i t 1 1 ke: “2

March 10, 2009

Brian P. Harrison. M.P.A.. P.E.
Department of the Navy

Naval Facilities Engineering Command
1322 Patterson Avenue, SE

Suite 1000

Washington Navy Yard, D.C. 20374-5065

Dear Mr. Harrison:

I am writing this letter in response to the Department of Navy’s (DON) letter dated June 19,
2008. In that letter you reiterated the DON’s continued support for working with the Agency for
Toxic Substances and Disease Registry (ATSDR) and brought to my attention issues of concern
to the DON regarding ATSDR’s current health study. This health study uses results of water-
modeling analyses to reconstruct historical levels of contaminants in base housing drinking-water
supplies during the health study period of 1968-1985.

I have requested ATSDR technical staff working on the current health study at Camp Lejeune to
compile responses to the scientific and technical issues you describe in your letter. These
responses are enclosed. As a particular response warrants, the response is supported with
additional technical and scientific documentation. Technical points of contact for responses to
the DON letter are listed below:

Health study/epidemiology, Dr. Frank J. Bove, (770) 488-3809, (hove o cde. 20%
Historical reconstruction/modeling, Mr. Morris L. Maslia, ( mae 488- 3842. mmashalaicdc.2ov.

ATSDR appreciates the DON’s support and commitment to working with us on this scientifically
complex and technically challenging project. One of the benefits to the public from a complex
project of this type is a demonstration of how two independent Federal Government agencies can
work together for the betterment of public health.

Sincerely,

A Mase tat

Thomas H. Sinks, Ph.D.

Deputy Director

National Center for Environmental Health/
Agency for Toxic Substances and Disease Registry

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Page 2 — Mr. Brian P. Harrison

Enclosure

cc:
H. Frumkin, NCEH/ATSDR/OD

C. Aloisio, NCEH/ATSDR/OFAS

M. Campbell, NCEH/ATSDR/OFAS

J. Masone, NCEH/ATSDR/OFAS

G. David Williamson, ATSDR/DHS

Bill Cibulas, ATSDR/DHAC

Susan Moore, ATSDR/DHAC

F_ J. Bove, ATSDR/DHS

P. Z. Ruckart, ATSDR/DHS

M. L. Maslia, ATSDR/DHAC

R. Mach, DON/ASN(E)

K. Brown, DON/NAVFACHQ

D. Waddill, DON/NAVFAC ATLANTIC
M. Simmons, DON/NMCPHC

C, Rennix, DON/NMCPHC

C. Sakai, USMCHQ

S. Williams, USMCHQ

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RESPONSE TO THE DEPARTMENT OF THE Navy’s LETTER ON ASSESSMENT OF ATSDR WaterR
MODELING FOR TARAWA TERRACE

INTRODUCTION

The Agency for Toxic Substances and Disease Registry (ATSDR) has used the following referencing
format in responding to the Department of the Navy (DON) comments contained in their letter of June 19,
2008. A comment is identified in the DON letter by a number (e.g., 1.1, 2.1, 3.1, etc.), and the ATSDR
response to that particular comment is identified with a sequential number (e.g., 1.2, 2.2, 3.2, etc.). To
facilitate comparison of DON comments with ATSDR responses, DON comment identifiers (e.g., 1.1,
2.1, 3.1, etc.) have been placed in the margins of the DON letter. This “marked up” letter is provided as a
reference and is identified herein as Attachment 1.

BACKGROUND

This ATSDR response and related attachments are part of a continuing effort on the part of ATSDR to
maintain a high level of communication between ATSDR and other agencies responsible for the current
health study at Camp Lejeune. To reiterate those efforts, Attachment 2 presents information pertinent to
previous meetings, presentations, and conversations between ATSDR and the Department of Defense
(DOD), the DON, and the U.S. Marine Corps (USMC). Since ATSDR proposed using the historical
reconstruction approach as part of the current health study during October 2003, ATSDR staff have
kept the DOD, DON, and USMC fully informed, at the highest levels of command, regarding ATSDR’s
work plans, activities, progress, and results. Attachment 2 provides a complete chronology of meetings,
presentations, and publications related to the historical reconstruction of contaminated drinking water at
Tarawa Terrace and vicinity. Three examples, we believe, are noteworthy:

(1) On October 8, 2003, ATSDR presented its proposed modeling approach to support the current
health study—historical reconstruction—during a meeting at ATSDR headquarters. Attending
the meeting were representatives from the DOD, DON, and USMC (headquarters and Camp
Lejeune). A copy of the meeting sign-in sheet and sample presentation slides also are provided in
Attachment 2.

(2) On August 26, 2005, ATSDR health study and water-modeling staff met with Lt. General Kelly
and his staff at USMC headquarters and presented initial water-modeling results indicating
tetrachloroethylene (PCE) had reached Tarawa Terrace water-supply wells as early as 1960.

(3) On June 11, 2007, ATSDR health study and water-modeling staff met with Lt. General Kramlich
and his staff at USMC headquarters and presented final water-modeling results. These results
indicated that PCE dissolved in groundwater had reached Tarawa Terrace water-supply wells as
early as November 1957. ATSDR also presented Lt. General Kramlich and his staff with printed
copies of the Executive Summary report (Maslia et al. 2007a) that would be publicly released the
following day (June 12, 2007).

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Response to the Department of the Navy's Letter on Assessment of ATSDR Water Modeling for Tarawa Terrace
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RESPONSE TO SPECIFIC COMMENTS

1.1. DON Comment/Statement

During a Technical Information Meeting with the Marine Corps and Navy on March 26, 2008,
the ATSDR presented their water modeling efforts in a summary report entitled “Exposure

to Volatile Organic Compounds in Drinking Water and Specific Birth Defects and Childhood
Cancer at U.S. Marine Corps Base Camp Lejeune, North Carolina.”

1.2_ATSDR Response

During the aforementioned meeting on March 26, 2008, in Atlanta, ATSDR presented water-
modeling results for Tarawa Terrace and vicinity. Staff and technical representatives from
ATSDR, DON, and USMC headquarters attended the meeting. ATSDR presented a summary of
published results and a list of Tarawa Terrace chapter reports to be completed. Attendees were
provided with a copy of the ATSDR PowerPoint* presentation that was used during the meeting.

Note that all reports of technical analyses and water-modeling results pertinent to historical
reconstruction of exposure to volatile organic compounds (VOCs) at Tarawa Terrace and
vicinity published to date by ATSDR have been available on the agency’s Camp Lejeune

Web site (http://www.atsdr.cdc. gov/sites/lejeune/watermodeling.html) since June 2007. For
example, the Executive Summary (Maslia et al. 2007a) and Chapter A (Maslia et al. 2007b)
reports were released publicly during June and July 2007, respectively. As agreed upon with
USMC headquarters staff, ATSDR provided Camp Lejeune and USMC headquarters staff with
advanced electronic copies (508-compliant PDF® files) of the aforementioned reports 24 hours
prior to their public release.

2.1... DON Comment/Statement

Monthly PCE concentrations are required for the ATSDR health study, which will examine
births that occurred from 1968 (when North Carolina computerized its birth certificates) to
1985 (when the contaminated water supply wells were removed from service).

2.2 ATSDR Response

In general, ATSDR is in agreement with this statement. Specifically, however, historical and
water treatment plant (WTP) operations records indicate that only the most contaminated wells
were removed from continuous service during 1985. For example, water-supply wells TT-26
and TT-23 were removed from continuous service during February and May 1985, respectively.
Remaining Tarawa Terrace water-supply wells continued to operate continuously and
intermittently until the Tarawa Terrace WTP was permanently shut down during March 1987
(Maslia et al. 2007b, Table A6). Thus, ATSDR is not in agreement with the DON statement in
parentheses that incorrectly describes the schedule for the removal of water-supply wells from
service at Tarawa Terrace.

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Response to the Department of the Navy's Letter on Assessment of ATSDR Water Modeling for Tarawa Terrace
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3.1 DON Comment/Statement

Due to lack of measured concentrations, the ATSDR used groundwater flow and contaminant
transport modeling in a historical reconstruction process to simulate PCE concentrations in the
drinking water on a monthly basis from 1952 to 1987.

3.2_ATSDR Response

To reconstruct monthly concentrations of PCE in drinking water, ATSDR used three types of
models: (1) groundwater flow, (2) contaminant fate and transport, and (3) simple mixing based
on the concepts of continuity and mass balance. The mixing model was necessary to account for
the mixing of uncontaminated and contaminated water-supply wells contributing to the water
supply at the Tarawa Terrace WTP. The mixing model provided the final “mixed” drinking-water
concentrations on a monthly basis, and these are the values that are available on the ATSDR Web
site and published in the Chapter A report (Maslia et al. 2007b).

4.1. DON Comment/Statement

Figure I shows the simulated concentrations of PCE versus measured concentrations in
finished water from the WTP. Significantly, measured concentrations of PCE are available only
in 1982 and 1985, near the end of the overall time period. Thus, the majority of the simulated
concentrations cannot be compared to measured data.

4.2 ATSDR Response

ATSDR agrees that there is a lack of historical contaminant concentration data. That is why
ATSDR applied the historical reconstruction process to reconstruct (or synthesize) water levels,
groundwater concentrations, and drinking-water concentrations of PCE for historical periods
(months) when data were not available. Note that data used to calibrate the model(s) in the
historical reconstruction process can either be historical data (as was the situation for Tarawa
Terrace), or present-day data obtained through a field-test program—as was the case for the
water-distribution system model developed by ATSDR for the Dover Township (Toms River),
New Jersey, childhood cancer cluster investigation (Maslia et al. 2000).

5.1. DON Comment/Statement

Furthermore, all of the measured concentrations were used during model calibration, leaving no
data available for model validation. As a result, the Tarawa Terrace model was not validated.

5.2 ATSDR Response

A number of terms have been used throughout the published literature that reference the
adequacy of model simulation to reliably reproduce real-world conditions based on the fidelity
of the model and its intended use. Many groundwater modelers and hydrologists have abandoned
the use of terms such as model verification and validation for the terms of history matching and
post audits (Bredehoeft and Konikow 1993, Oreskes et al. 1994). However, ATSDR understands
that the DON comment was intended to express the DON’s concern that the calibrated Tarawa
Terrace models were not compared to multiple independent sets of measured data (water levels

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and concentrations) as part of ATSDR’s model calibration process and strategy. To address this
concern, definitions of terms such as “verification” and “validation” should be agreed upon, and
the consequences of undertaking a useful “validation” program for Tarawa Terrace should be
completely understood by ATSDR and the DON. Model verification requires that multiple sets
of field data be available for model calibration. These sets of field data should be sufficiently
large in quantity and distribution and of sufficient quality to provide at least two equally useful
calibration data sets. Each data set also should be sufficiently separated in time so as to represent
significantly different water-level and contaminant conditions within the model domain. The
field data set at Tarawa Terrace used for model calibration was not of sufficient quantity and was
too compressed in time to implement a verification procedure. To appropriately calibrate the
Tarawa Terrace models, all available field data were required for a single calibration data set and
effort. This is consistent with and follows ASTM D5981-96, Standard Guide for Calibrating a
Ground-Water Flow Model Application (1996, Note 4), that states: “When only one data set is
available, it is inadvisable to artificially split it into separate ‘calibration’ and ‘verification’ data
sets. It is usually more important to calibrate to data spanning as much of the modeled domain
as possible.”

To meaningfully validate the Tarawa Terrace models (or more appropriately, to conduct a

post audit), sufficient time should elapse between individual sets of field data to ensure that
significant changes in field conditions have occurred compared to calibrated conditions. At
Tarawa Terrace, such changes, by necessity, would require the migration of the contaminant

mass to a completely new location and for contaminant concentrations to change significantly
when compared to calibrated conditions. Additionally, at Tarawa Terrace, validation (a post audit)
would require the collection and analyses of substantial quantities of additional field data, similar
to Weston’s Operational Units 1 and 2 (Roy F. Weston, Inc. 1992, 1994).

Note, once an acceptable calibration was achieved (using a four-stage calibration strategy
described in Maslia et al. [2007a], Faye and Valenzuela [2007], and Faye [2008]), the calibrated
models were used to reconstruct historical monthly PCE and PCE degradation by-product
concentrations in groundwater and drinking water (Jang and Aral 2008). This is standard practice
in the modeling community—using a calibrated model to “predict” (in ATSDR’s situation,
“reconstruct”) results for a period of time when data are not available or cannot be obtained. An
example using this same approach is the application of fate and transport modeling to chlorinated
organic compounds at Operable Unit 1, U.S. Naval Air Station, Jacksonville, Florida (NASJF),
conducted by Davis (2007, Figures 28-31). At this site, the earliest water-quality data that are
available were collected during 1992, but the fate and transport model simulations reconstruct
concentrations as far back as 1945.

6.1 DON Comment/Statement

For PCE detections, the ATSDR chose the calibration standard to be “+1/2-order of magnitude
of the observed valued,” such that the higher value in the calibration target range is 10 times
greater than the lower value .... In other words, a model-derived PCE concentration can be
approximately 3 times higher or 3 times lower than the measured concentration and still fall
within the calibration range.

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6.2 ATSDR Response

ATSDR generally is in agreement with this statement. For model calibration, ATSDR
established, a priori, calibration “targets” that were based on the reported accuracy of the
available water-level and water-quality measurements. This is in keeping with, and following,
the ASTM Standard Guide for Calibrating a Ground-Water Flow Model Application (ASTM
1996). Note, however, that published or accepted groundwater-flow or contaminant fate and
transport model calibration standards are currently not established. The lack of model calibration
standards is further emphasized by Anderson and Woessner (1992) who state: “To date, there is
no standard protocol jor evaluating the calibration process, although the need for a standard
methodology is recognized as an important part of the quality assurance in code application
(National Research Council 1990).” In thoroughly reviewing the published literature for
contaminant fate and transport model applications, ATSDR did not find any examples wherein
calibration targets were established a priori and then were followed by a comparison of model
simulation results to the calibration targets, as was done in the ATSDR analyses (Maslia et al.
2007b, Faye 2008). For example, at another DON site—the NASJF—contaminant fate and
transport simulations of selected chlorinated organic solvents were accepted by the DON, but the
simulations did not include any a@ priori contaminant fate and transport calibration targets (Davis
2003, 2007).

7.1 DON Comment/Statement

However, all comparisons did not fall within the calibration range. At the WTP, 12% of the
simulated PCE concentrations failed the calibration standard .... at the water supply wells, a
majority (53%) of the simulated concentrations fell outside the calibration standard...

7.2 ATSDR Response

ATSDR will address three issues pertinent to the aforementioned DON statement:

(1) ATSDR acknowledges that several simulated head and concentration data fall outside
of the range of the ATSDR established calibration targets. As discussed above, ATSDR
used available data provided by the U.S. Environmental Protection Agency (USEPA),
U.S. Geological Survey (USGS), USMC, and DON, and based on these data, established
calibration targets a priori, as prescribed in ASTM D5981-96 (1996, Section 6).
Furthermore, ATSDR clearly identified and conveyed to the reader (and the public) those
data that met and did not meet calibration targets by providing illustrations comparing
observed (measured) data, nondetect data, and simulated results with calibration targets
for water-supply wells and the Tarawa Terrace WTP. These illustrations are designated as
Figures All for water-supply wells and A12 for the WTP of the Chapter A report and are
located on pages A30 and A31, respectively (Maslia et al. 2007b).

(2) Note, as well, that ATSDR did not discard any nondetect data, as is done in many
environmental analyses (Helsel 2005). Rather, ATSDR clearly identified the nondetect
data on the aforementioned illustrations so the reader could judge for themselves
the usefulness of these data and their relation to the calibration targets. This is very
much in keeping with the approach stated by Helsel (2005): “Deleting nondetects,
concentrations below a measured threshold, obscures the information in graphs and
numerical summaries.”

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(3) ATSDR maintains that the models (flow, transport, and mixing) are sufficiently
calibrated, given the quantity and accuracy of data provided and the intended use of
the simulated historically reconstructed concentrations. Although the DON is correct
in pointing out that some simulated results did not meet the calibration target, ATSDR
believes that the DON should assess these results in terms of: (1) similar peer-reviewed
reports, (2) currently established model calibration practices, and (3) the intended use
of the modeling results by the epidemiological study. That is, are the ATSDR analyses
within the accepted norm of current-day modeling practices, are the ATSDR analyses
an exception to this norm, and will there be sufficient reliability for an epidemiological
study?

To possibly answer the first two questions, ATSDR looks forward to discussing with the
DON the results of other modeling studies of contaminant fate and transport similar to
the ATSDR study at Tarawa Terrace and comparing the results of other studies to the
calibration targets used by ATSDR at Tarawa Terrace. For example, the results of the
ATSDR fate and transport simulations at Tarawa Terrace were compared to results of a
similar study of the fate and transport modeling of chlorinated solvents at the NASJF,
reported by Davis (2003). The report by Davis (2003) was peer reviewed and published
by the USGS, and the published results were subsequently deemed totally acceptable to
the DON. No calibration targets for contaminant concentrations were established during
the NASJF study. Therefore, to directly compare Tarawa Terrace and NASJF simulation
results, the ATSDR calibration targets of +1/2-order of magnitude were applied to data
and simulation results reported in Davis (2003, Figure 34). Attachment 3 shows this
comparison along with similar results reported by Maslia et al. (2007b, Tables A9 and
A10). The percentage of NASJF simulation results that fell within the calibration target
range (passed the calibration target test) is 56% compared with 59% for the ATSDR
study (44% of the NASJF results failed the calibration test compared with a failure

rate of 41% for ATSDR results). Furthermore, the root-mean-square of concentration
difference for the NASJF analysis is 329 ug/L compared with 337 ug/L for the ATSDR
analysis. (Data used to conduct these comparisons also are included in Attachment 3.)
Thus, one can conclude that the ATSDR analysis is comparable to and of the same order
of accuracy and quality as the NASJF analysis that was accepted by the DON.

To address the issue of the intended use of the water-modeling results by the current
ATSDR epidemiological study, the DON should be advised that a successful
epidemiological study places little emphasis on the actual (absolute) estimate of
concentration and, rather, emphasizes the relative level of exposure. That is, exposed
individuals are, in effect, ranked by exposure level and maintain their rank order of
exposure level regardless of how far off the estimated concentration is to the “true”
(measured) PCE concentration. This rank order of exposure level is preserved regardless
of whether the mean or the upper or lower 95% of simulated levels are used to

estimate the monthly average contaminant levels. It is net the goal of the ATSDR health
study to infer which health effects occur at specific PCE concentrations—this is a task

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for risk assessment utilizing approaches such as meta-analysis to summarize evidence
from several epidemiological studies because a single epidemiological study is generally
insufficient to make this determination. The goal of the ATSDR epidemiological
analysis is to evaluate exposure-response relationships to determine whether the risk

for a specific disease increases as the level of the contaminant (either as a categorical
variable or continuous variable) increases.

8.1 DON Comment/Statement

It seems reasonable to conclude that the accuracy of the historically reconstructed PCE
concentrations would be less than the calibration standard of +1/2-order of magnitude.

Thus, the historical reconstructions may be viewed as rough estimates of actual exposure
concentrations, with model-derived PCE concentrations representing a relatively wide range of
possible exposures. It is essential that this concept be expressed clearly and consistently to all
stakeholders.

8.2 ATSDR Response

ATSDR is in disagreement with DON’s assessment and interpretation as expressed in the first
two sentences above. As previously discussed, there are no established calibration targets or
standards that are universally accepted or used by the contaminant fate and transport modeling
community. With respect to the Tarawa Terrace models, the failure of a percentage of data to
conform to a designated calibration target is more a commentary on the accuracy and variability
of field data used for model calibration than the model’s ability to accurately simulate true

field conditions. These issues are thoroughly discussed in the “Discussion” sections of the
Tarawa Terrace Chapter C and F reports (Faye and Valenzuela 2007, Faye 2008) For example,
note on Attachment 3 of this letter the radical changes in PCE concentration at well TT-26
during the approximately 1-month period between January |6 and February 19, 1985. Of the
four comparisons of measured PCE concentrations with simulated PCE concentrations, three
comparisons failed the calibration target test of +1/2-order of magnitude while the field data
varied by as much as 2.5 orders of magnitude. The two analyses recorded for February 19, 1985,
are duplicative but were nonetheless counted as two failures with respect to computing a
percentage of comparisons that failed the calibration target test. Furthermore, ATSDR is not
aware of any other published report that establishes, a priori, contaminant fate and transport
calibration targets. ATSDR based its calibration target of +1/2-order of magnitude on the
assumption that very restrictive or “tight” control on model calibration was desired. With 59% of
the water-supply well and water treatment plant paired data points meeting these targets, ATSDR
believes it met its model calibration goals.

ATSDR is in disagreement with the DON statement that the historical reconstruction results of
PCE concentrations are “rough estimates” and represent a “relatively wide range of possible
exposures.” Results presented in the Chapter A report (Maslia et al. 2007b) demonstrate just
the opposite. ATSDR meticulously followed accepted modeling standards (ASTM 1996, Hill
and Tiedeman 2007) for both deterministic (single-valued input and output) and probabilistic
(distributed-value input and output) modeling analyses. Results obtained are accurate on

a monthly basis within the variability bands indicated, given the quality and quantity of

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available data, and the uncertainty and variability of input data, pumping and water treatment
plant operations, and quantity of mass released. The monthly resolutions of simulated PCE
concentrations are sufficiently refined for the intended use of the epidemiological case-control
study. Furthermore, as shown in Figures A25 and A26 (Maslia et al. 2007b), ATSDR clearly
described and communicated that reconstructed (simulated) PCE concentrations for a specified
month do have a range of values. A tabular listing of these values is provided in the Chapter

I report (Maslia et al. 2009) and will be made available to the public on the ATSDR Web site.
These tabular values also are provided herein as Attachment 4. A review of Attachment 4
indicates that during the period of interest to the epidemiological study (1968-1985), when
water-supply well TT-26 was pumping, the range of 95% of the Monte Carlo simulated PCE
concentration values differ by a factor of about 2 when pumping uncertainty is not considered
(e.g., for January 1968, P,, .= 76.43 pg/L and P, . = 38.91 pg/L). PCE concentration values
differ by a factor of about 2.5 when pumping uncertainty is considered (e.g., for January

1968, P,, , = 98.22 ug/L and P, . = 40.60 ug/L). These ranges are, in fact, very narrow and
provide both quantitative and qualitative indications of the precision of the ATSDR historically
reconstructed PCE concentrations in drinking water.

ATSDR is in agreement with the DON statement that “/t is essential that this concept be
expressed clearly and consistently to all stakeholders.” Upon the release of the Chapter I report
(Maslia et al. 2009), ATSDR intends to revise the Camp Lejeune water-modeling Web site to
include a listing of ranges of PCE concentrations for a given month and year of interest. When a
person queries the ATSDR Web site, they will be provided with a mean exposure concentration
and the 95% Monte Carlo simulated range of values.

9.1. DON Comment/Statement

For example, the public needs to understand that the model-derived PCE concentrations
represent a range of possible exposures... . The usefulness of the website would be enhanced if
it accurately conveyed the degree of uncertainty in the model-derived concentrations.

9.2 ATSDR Response

ATSDR is in agreement with this DON statement. As stated above, ATSDR has revised the
Camp Lejeune water-modeling Web site to include a listing of ranges of PCE concentrations
for a given month and year of interest. When a person links to the ATSDR Web site, they will
be provided with a mean exposure concentration and the 95% Monte Carlo simulated range of
values.

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10.1 DON Comment/Statement

Other concerns with model calibration include the simulation of contaminant mass loading

and groundwater flow. With Dense, Non-Aqueous Phase Liquids (DNAPLs) such as PCE, mass
estimation is always quite difficult and subject to very high uncertainty due to irregular movement
and distribution of DNAPL in the subsurface.

10.2 ATSDR Response

In principle, ATSDR is in agreement with the DON statement that DNAPL movement and
distribution makes it difficult to estimate contaminant mass. However, water-quality data obtained
from the USEPA for the unsaturated zone in the vicinity of ABC One-Hour Cleaners and in the
Upper Castle Hayne aquifer at Tarawa Terrace (Roy F. Weston, Inc. 1992, 1994; Faye and Green
2007) indicated that measured PCE concentrations in water-quality samples were significantly
below the solubility limit of PCE in water. Typical solubility limits for PCE in water reported in the
scientific literature range from 150-210 mg/L (Schwille 1988, Pankow and Cherry 1996, ATSDR
1997, Lawrence 2007). Reported concentrations of PCE in all water-quality samples made available
to ATSDR were less than 20% of the solubility limit and most concentrations were in the range of
less than 1% to 5% of the solubility limit (Faye and Green 2007). Thus, with PCE concentrations
well below their solubility limit, the movement of PCE-contaminated groundwater would not be
subjected to the complexities and difficulties encountered with estimating mass of density-driven
flows. This concept is further borne out by Schwille (1988) who states, in referring to chlorinated
hydrocarbons (CHCs): “/n most cases, the concentrations near all CHC spill sites are very low—
usually far below the saturation values. This indicates that it may be assumed that density-affected
flow will be the exception in real-world situations.”

In addition, mass computations similar to those described in Pankow and Cherry (1996) were
accomplished for the saturated and unsaturated zones in the vicinity of ABC One-Hour Cleaners,
using hydrocone and well data made available to ATSDR by USEPA and USMC (Roy F. Weston,
Inc. 1992, 1994; Faye and Green 2007). These mass computations provided a lower-limit estimate
for dissolved PCE mass in groundwater needed for simulating the contaminant fate and transport

of PCE at Tarawa Terrace. Furthermore, the calibration of the Tarawa Terrace fate and transport
model is additionally corroborated by comparing the computed mass residing in the saturated zone
from December 1991 to April 1992 (1.5 x 10° grams) to the simulated mass residing in the saturated
zone during February 1992 (1.0 x 10° grams) (Faye 2008). The mass computation method described
in Pankow and Cherry (1996) and similar to that used by Faye and Green (2007) has been further
refined. As explained in Ricker (2008): “this method is applicable to any contaminant dissolved in
ground water.” A copy of the paper by Ricker (2008) is provided as Attachment 5.

11.1 DON Comment/Statement

For Tarawa Terrace groundwater, the difference between observed and simulated elevations is 5 to
10 feet at many times during the 1970°% and 19805. This is a significant disparity because the total
change in groundwater elevation from the source area to the receptor wells is approximately 10 to
12 feet.

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11.2 ATSDR Response

This DON approach to evaluating model calibration applies a generalized “rule of thumb” to
the Tarawa Terrace groundwater-flow models and is possibly based on wording found in ASTM
Guide D598 1-96, Standard Guide for Calibrating a Ground-Water Flow Model Application,
(ASTM 1996, section 6.4.1): “the acceptable residual should be a small fraction of the
difference between the highest and lowest heads across the site.” ATSDR is not in agreement
with this approach to evaluate model calibration. A careful review of ASTM D5981-96 in

its entirety indicates that the DON’s comment, as stated, is totally removed from the context
of Section 6 of the ASTM Standard Guide as well as the context of the accuracy of field data
used to calibrate the Tarawa Terrace groundwater-flow model, as described in the Chapter C
report (Faye and Valenzuela 2007). For example, in Section 6.4, ASTM D598 1-96 states: “the
magnitude of the acceptable residual depends partly upon the magnitude of the error of the
measurement or the estimate of the calibration target and partly upon the degree of accuracy
and precision required of the models prediction.” Furthermore, Note 2 of ASTM D5981-96
states: “Acceptable residuals may differ for different hydraulic head calibration targets within
a particular model. This may be due to different errors in measurement.” The Tarawa Terrace
Chapter C report (Faye and Valenzuela 2007, p. C24) provides a comprehensive discussion of
water-level measurement errors arising from the use of airlines and pressure gages to measure
water levels. Faye and Valenzuela also point out that this is consistent with the discussions of
LeGrand (1959) who described problems associated with the use of airlines to measure water
levels at Camp Lejeune as far back as 1959. As pointed out in Faye and Valenzuela (2007,

p. C24): “Typically, reported water levels [at supply wells] vary in excess of 20 ft during the
period of measurement, and frequently 10 ft or more from month to month.... Such variability
also may indicate leaking or damaged airlines or pressure gages.”

Faye and Valenzuela (2007, p. C24) also provide detailed discussions as to the rationale for
selecting two calibration target ranges for the transient groundwater-flow model. At wells where
water-level measurements were obtained using airlines and pressure gages, the calibration
target was selected as an absolute difference of 12 ft between simulated and measured water
levels. This target was based on well-known disadvantages of using pressure gages and airlines
to obtain accurate water-level measurements. Where water-level measurements were obtained
using the more highly accurate tapes and similar devices at monitor wells, the calibration

target was selected as an absolute difference of 3 ft between simulated and measured water
levels. This target was based on the least accurate of these water-level measurements where
topographic maps were used to estimate the altitude of a measuring point.

Evaluating model calibration using the “rule of thumb,” as the DON has suggested, also
assumes that no other information is available to determine calibration targets. When
information is available, such as direct knowledge of methods of water-level measurements and
information characterizing the measurement device(s), the calibration targets should be based
on these data, not on a “rule of thumb.” Faye and Valenzuela (2007) provide detailed listings of
measured water levels in supply and monitor wells throughout Tarawa Terrace (Appendix C5).

The calibration of the Tarawa Terrace groundwater-flow and contaminant fate and transport
models and the computation of related calibration metrics are described in great detail in
published ATSDR reports (Faye and Valenzuela 2007, Maslia et al. 2007b, Faye 2008). The

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calibration approach used by ATSDR closely follows published guidelines for model calibration
(National Research Council 1990;Anderson and Woessner 1992; ASTM 2004, 2006, 2008). Nowhere
in these publications could we find any reference to the “rule of thumb” for model calibration found
in ASTM (1996) and subsequently promoted by the DON. The use of hydraulic head change over

a model domain to define an acceptable residual for groundwater model calibration is not found

or discussed in any of the aforementioned references. Anderson and Woessner (1992) and ASTM
D5940-93 (2008) provide several metrics for evaluating the calibration process and comparing
groundwater-flow model simulation to site-specific information. Among these metrics are the use of a
scatter diagram and the computation of the mean error, the mean absolute error, the root-mean-square
(RMS) of error, and standard deviation of error.’ In conformance with these metrics, the calibration
of the ATSDR groundwater-flow models was evaluated using scatter diagrams (Figures C9 and C20
in Faye and Valenzuela [2007] and Figure A10 in Maslia et al. [2007b]) and by computing the mean
absolute error of the differences between simulated and observed head at all known observation

and water-supply wells within the model domain as well as the RMS and standard deviation of

these differences (Table C10 in Faye and Valenzuela [2007] and Table A8 in Maslia et al. [2007b]).
Attachment 6 to this letter, the scatter diagram from Maslia et al. (2007b), and Attachment 7,

Table A8 from Maslia et al. 2007b, describe the computation of the absolute error (head difference)
and related RACS and standard deviation. The calibration of the ATSDR Tarawa Terrace groundwater-
flow and contaminant fate and transport models was based on available water-level and water-quality
data to determine calibration targets and closely adheres to accepted model calibration standards and
evaluation procedures, such as those described in the aforementioned publications.

12.1 DON Comment/Statement

In addition, model results suggest that the simulated PCE concentrations at the WTP depend
significantly on the pumping rates at the various water supply wells. The degree to which simulated
well operations match actual operations is a concern. [he Navy/Marine Corps would welcome the
opportunity for further technical discussion with ATSDR on these issues.

12.2 ATSDR Response

ATSDR is in agreement with the DON that PCE concentrations at the WTP are dependent on

the pumping rates assigned to water-supply wells. This dependency is based on the principles of
continuity and conservation of mass. The PCE concentration in finished water at the WTP is a
function of individual water-supply well pumping rates and their simulated PCE concentrations

for a given historical month (stress period)—also referred to as a flow-weighted average PCE
concentration (Faye 2008). ATSDR shares the DON’s concern that simulated operations may not
match historical operations. Thus, when monthly pumpage data were available, ATSDR used these
data in the transient groundwater-flow model (for example, Table C8 in Faye and Valenzuela [2007]
and Table [16 in Maslia et al. [2009]). To address issues of missing pumping operational data and the
effect of uncertain pumping rates on simulated PCE concentrations, ATSDR conducted additional
and complex analyses that described in detail: (1) issues of pumping schedule variation on the arrival
of PCE at water-supply wells and the WTP (Wang and Aral 2008) and (2) assessment of uncertain

The term “error” as used in Anderson and Woessner (1992) and some other references is defined in the ATSDR analyses
as “head difference” and refers to the difference between measured and simulated potentiometric heads or water levels.

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pumping rates by conducting a probabilistic analysis wherein pumping rate was defined as an
uncertain model parameter (Maslia et al. 2009, Figure 125).

13.1 DON Comment/Statement

... certain combinations of input parameters resulted in wells drying out, so only 510
physically viable realizations were produced. Thus, 330 out of 840 realizations were not viable,
raising concerns about the representativeness of the input parameter distributions.

13.2 ATSDR Response

The issue that should be addressed is not how many realizations produced physically plausible
solutions, but rather, are the 510 realizations that were successfully produced sufficient to
represent an infinite number of random solutions? The metric that determines whether or not
this question is answered in the affirmative is the relative change in stopping criteria between
successive model simulations. If this relative change is small within a predetermined range,
then additional simulations are redundant and do not statistically contribute to an improvement
of the representativeness of the overall results with respect to the statistical distributions. The
Chapter I report (Maslia et al. 2009) describes in detail the criteria used to determine when a
sufficient number of realizations have been achieved. Three stopping criteria were used to halt
the Monte Carlo simulation: (1) relative change in the arithmetic mean of PCE concentration

in finished water at the Tarawa Terrace WTP, AC ; (2) relative change in the standard deviation

of PCE concentration in finished water at the Tarawa Terrace WTP, Ao; ; and (3) relative
change in the coefficient of variation of PCE concentration in finished water at the Tarawa

Terrace WTP, AC,. Mathematical formulae and definitions of the aforementioned stopping
criteria metrics are listed in Table 113 of the Chapter I report (Maslia et al. 2009). In applying
the stopping criteria to the Monte Carlo simulations, an upper and lower bound of 0.25% was

used for each metric. When the computed relative change (AC , Ao, , and AC,) was within the
aforementioned bounds and the total number of realizations was 500 or more, the Monte Carlo
simulation process was halted. Examples of the stopping criteria for each metric are shown
graphically in Attachment 8 (Maslia et al. 2009, Figure 126). As can be seen from the stopping
criteria, insignificant change (much less than 2.5%) occurs after 300 realizations. Therefore, 510
realizations were more than sufficient to represent an infinite number of random solutions.

14.1 DON Comment/Statement

Although a summary of the probabilistic analysis is presented in Chapter A of the ATSDR
modeling report, the details will be in Chapter I, which is not yet available. The Navy/Marine
Corps feels that additional information on this matter would likely help our understanding.

14.2 ATSDR Response

An electronic version (508-compliant PDF*) of the Chapter I report (Maslia et al. 2009) was
provided to the DON and USMC on February 13, 2009, and is now available on the ATSDR
Web site. Printed copies of the report are expected to be available around March 20, 2009. The
Chapter I report describes in detail the Monte Carlo simulation process and how this process

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was incorporated into Tarawa Terrace groundwater-flow and contaminant fate and transport models.
Additionally, details pertaining to generating uncertain parameter distributions using Monte Carlo
and sequential Gaussian simulation are discussed. Note, however, results presented in the Chapter I
report do not change or alter results and interpretations presented in the Chapter A report.

15.1 DON Comment/Statement

The usefulness and applicability of the model-derived PCE concentrations for Tarawa Terrace are
affected by the following ....

15.2 ATSDR Response

ATSDR has responded in detail to the items numbered in the Summary Section of the DON letter of
June 19, 2008. To summarize, ATSDR used data and information that were provided by the USEPA
and the USMC. In addition, other data sources from the USGS also were used. This formed the basis
for the conceptual models of groundwater flow and contaminant fate and transport applied to the
Tarawa Terrace area.

Calibration targets were selected based on the quality and availability of water-level and water-
quality data provided to ATSDR. Model analyses and calibrations were conducted by following
accepted and published standards for groundwater-flow and contaminant fate and transport models
(ASTM 1996, 2004, 2006). It must be emphasized, however, that model calibration standards or
targets for groundwater-flow and contaminant fate and transport modeling analyses do not exist, as
stated in Anderson and Woessner (1992): “Yo date, there is no standard protocol for evaluating the
calibration process, although the need for a standard methodology is recognized as an important
part of the quality assurance in code application (National Research Council 1990).” Thus, ATSDR
maintains that the models (flow, transport, and mixing) are sufficiently calibrated, given the quantity
and accuracy of data provided and the intended use of the simulated historically reconstructed
concentrations for the epidemiological study, previously discussed above in the last paragraph of
section 7.2.

The concept behind the historical reconstruction process is as follows: (1) when data are limited
or unavailable for a certain time period, the data that are available are used to calibrate a model (or
models), and (2) the missing data are “reconstructed” or “synthesized” using the calibrated model(s).

16.1 DON Comment/Statement

Groundwater modeling studies are always subject to a high degree of uncertainty, and in this sense,
the Tarawa Terrace water model is no exception .... Any use of reconstructed concentrations must
take into account the inherent uncertainty in the model results.

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16.2 ATSDR Response

ATSDR is not in agreement with the DON that there is a “high degree of uncertainty”
associated with the Tarawa Terrace models. ATSDR acknowledges that uncertainty and
variability exist in model input parameter values and in model output (simulated water levels
and PCE concentrations). However, ATSDR has quantified the uncertainty and variability
through the use of probabilistic analyses that apply Monte Carlo and sequential Gaussian
simulation methods to the Tarawa Terrace groundwater-How and contaminant fate and transport
models. The probabilistic analyses, summarized in Chapter A and described in detail in Chapter
I, indicate that for 95% of the Monte Carlo simulations, there is a PCE-concentration range

of about 2 when pumping is not an uncertain input parameter and a factor of about 2.5 when
pumping is an uncertain parameter. This is well within acceptable confidence limits for the
intended use of the reconstructed PCE concentrations needed by the epidemiological case-
control study. As previously discussed in section 7.2 of ATSDR’s response, the ATSDR health
study is not trying to infer at what specific PCE concentration effects are seen. Instead, the
epidemiological analysis is trying to evaluate an exposure-response relationship in which the
exposures are categorized levels, not absolute values.

17.1 DON Comment/Statement

Recommendations

1. Improve communication ..., 2. Convene an expert panel ..., 3. Finalize remaining sections...,
4. Apply all lessons learned from the Tarawa Terrace modeling efforts to the scoping of the
approach for Hadnot Point.

17.2 ATSDR Response

1. ATSDR water-modeling and health study staff will be meeting with the ATSDR Office of
Communications to develop effective methods to communicate results of the historical
reconstruction analyses and the uncertainty associated with reconstructed concentrations.
ATSDR has removed the Web application that provides a “single” value estimate of historical
PCE concentration in Tarawa Terrace drinking water. This Web application has been replaced
with Figure 129 and Appendix I5 (Maslia et al. 2009).

2. ATSDR is in the process of organizing an Expert Panel for the Hadnot Point and Holcomb
Boulevard areas. The panel is scheduled to meet on April 29 and 30 at ATSDR headquarters.
Initial information packets have been mailed to the 13 panel members and panel chair, and a
courtesy packet has also been provided to USMC headquarters staff.

3. Chapter I is complete and was released to the DON and USMC on February 13, 2009. Printed
copies should be available after March 20. Chapters J (water-distribution modeling) and K
(Supplemental Information) are anticipated to be final during June 2009.

4. ATSDR agrees and is in the process of applying lessons learned from the Tarawa Terrace
analyses as work progresses on the Hadnot Point and Holcomb Boulevard areas.

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CONCLUSIONS

ATSDR appreciates the DON’s continued support for the agency’s current health study and
completion of water-modeling activities. The issues of concern and recommendations contained

in the DON’s assessment of water-modeling analyses at Tarawa Terrace and vicinity have been
carefully considered and fully addressed in ATSDR’s responses. The online release of Tarawa Terrace
Chapter I report (Maslia et al. 2009) on February 13, 2009, provides additional confidence that the
historically reconstructed PCE concentrations determined by Faye (2008) are reasonable, conform
well to field observations, and are reliable for their intended use in the epidemiological study.

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RESPONSE TO THE DEPARTMENT OF THE Navy’s LETTER ON ASSESSMENT OF ATSDR Water
NIODELING FOR TARAWA TERRACE

ATTACHMENT 1: DEPARTMENT OF Navy Comments, JuNE 19, 2008

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Attachment 1: Department of the Navy Comments, June 19, 2008

Assessment of
ATSDR Water Modeling for Tarawa Terrace

The purpose of this assessment is (1) to document the Navy/Marine Corps’ current
understanding of the ATSDR water modeling for Tarawa Terrace and (2) to serve as a basis for
additional technical discussions between the Navy/Marine Corps and ATSDR.

Background

During a Technical Information Meeting with the Marine Corps and Navy on March 26, 2008,
1 the ATSDR presented their water modeling efforts in a summary report entitled “Exposure to

Volatile Organic Compounds in Drinking Water and Specific Birth Defects and Childhood

Cancer at U.S. Marine Corps Base Camp Lejeune, North Carolina,” (March 26, 2008). The

report indicates that the following specific information is needed in order to conduct a health

study on these birth defects:

1. When did contaminated groundwater reach water supply wells? month and year
2. What was the timing, level, and duration of maternal or infant exposure to contaminated
drinking water:
a. In which months did exposure occur?
b. What was the monthly average level of contamination?
c. For how many months did exposure occur?

Thus, extensive data are required in order to conduct the proposed health study. Since no
measured concentrations of PCE (perchloroethylene) are available prior to 1982, the ATSDR has
used modeling to simulate these concentrations at Tarawa Terrace, and proposes a similar
modeling approach for Hadnot Point. The results of the Tarawa Terrace modeling are being
documented in the ATSDR modeling report entitled “Analysis of Groundwater Flow,
Contaminant Fate and Transport, and Distribution of Drinking Water at Tarawa Terrace and
Vicinity, U.S. Marine Corps Base Camp Lejeune, North Carolina: Historical Reconstruction and
Present-Day Conditions” (ongoing, but initial chapters published in 2007 and 2008).

In general, the usefulness of a groundwater flow and contaminant transport model depends on an
accurate estimate of numerous model parameters that describe site geology, groundwater
velocity, well pumping rates, and contaminant properties. Many of these parameters are highly
variable and difficult to estimate directly. Therefore, model calibration and validation are
essefitial steps in the modeling process. Model calibration involves adjusting the initial
parameter values until simulated model concentrations match measured concentrations. In a
second step, the calibrated model is validated by comparing simulated concentrations to
additional measured concentrations that were not used during calibration. During validation, the
model is “put at risk,” and it may be judged unsuccessful if the simulated and measured
concentrations do not match.

darpwa ierrace Water Modeling

The Tarawa Terrace housing development at Camp Lejeune was constructed in 1951, and the
Taruwa Terrace Water Treatment Plant (WTP) began lo diswibuie drinking Waier during 1952-
1953. The only documented source of contamination at Tarawa Terrace is ABC One-Hour

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Attachment 1: Department of the Navy Comments, June 19, 2008--continued

Cleaners, which began operations during 1953, using the chlorinated solvent PCE in its dry
cleaning process. PCE concentrations were measured at the WTP in 1982 and 1985, and no
measured concentrations of PCE are available prior to 1982.

births that occurred from 1968 (when North Carolina computerized its birth certificates) to 1985
(when the contaminated water supply wells were removed from service). Due to lack of

measured concentrations, the ATSDR used groundwater flow and contaminant transport 31
modeling in a historical reconstruction process to simulate PCE concentrations in the drinking | ~*
water on a monthly basis from 1952 to 1987.

Monthly PCE concentrations are required for the ATSDR health study, which will examine
2.1

Figure | shows the simulated concentrations of PCE versus measured concentrations in finished
4.1 1 water from the WTP. Significantly, measured concentrations of PCE are available only in 1982
* ) and 1985, near the end of the overall time period. Thus, the majority of the simulated
con¢entrations cannot be compared to measured data. Furthermore, all of the measured
concentrations were used during model calibration, leaving no data available for model 45,1
valuation. As a result, the Tarawa Terrace model was not validated.

Dung calibration, model parameters were adjusted to cause the simulated concentrations at the
Water Treatment Plant (WTP) to meet the calibration standard to the degree possible. For PCE |
detections, the ATSDR chose the calibration standard to be “+ 1/2-order of magnitude of the
observed valued,” such that the higher value in the calibration target range is 10 times greater

than the lower value. For example, at the WTP in May 1982, the calibration target range was 25

to 253 ug/L, based on the measured PCE concentration of 80 ug/L. The simulated concentration

of 148 ug/L fell within this range. As another example, at supply well TT-26 in January 1985, 6.1
the calibration target range was 500 to 5,000 ug/L based on the measured PCE concentration of F
1,520 ug/L. In this case, the range was quite large because it was calculated from a relatively

high measured concentration. The simulated concentration of 804 fell within the range, near the
lower end. In summary, based on the chosen calibration standard, the calibration process was
viewed as “successful” over a range that spanned a factor of 10. In other words, a model-derived
PC? concentration can be approximately 3 times higher or 3 times lower than the measured
concentration and still fall within the calibration range. —-

Thus, if all comparisons had fallen within the calibration range, the chosen calibration standard
would give an idea of the accuracy, or degree of fit, between simulated and measured
concentrations. However, all comparisons did not fall within the calibration range. At the WTP,
12% of the simulated PCE concentrations failed the calibration standard (p. F42 in the ATSDR
7.14 modeling report). It should be noted that these failures involved non-detects or very low
concentrations, More significantly, at the water supply wells, a majority (53%) of the simulated
con-entrations fell outside the calibration standard (p. F33 in the ATSDR modeling report).
Graphs of simulated versus observed concentrations of PCE in water supply wells RW2, TT-23,
TT-25, TT-26, and TT-54 are shown below in Figures F13 through F17 (p. F34 and F35 of the
ATSDR modeling report). The graphs show that only a few observed PCE concentrations are
available, and there are substantial differences between observed and simulated concentrations.
Mode! performance at the supply wells raises concerns about the degree to which the model
calibration was successiul. it seems reasonable to conclude that the accuracy of historically

8.1

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Attachment 1: Department of the Navy Comments, June 19, 2008--continued

reconstructed PCE concentrations would be less than the calibration standard of + 1/2-order of
magnitude. Thus, the historical reconstructions may be viewed as rough estimates of actual
exposure concentrations, with model-derived PCE concentrations representing a relatively wide
range of possible exposures. It is essential that this concept be expressed clearly and consistently
to al\ stakeholders.

For example, the public needs to understand that the model-derived PCE concentrations
represent a range of possible exposures. This concept should be expressed more clearly on the
Camp Lejeune website (http://www.atsdr.cdc. gov/sites/lejeune/watermodeling.html). Currently
the website has a section that says: "Find Out PCE Levels During Your Tour; Find out the levels
of PCE and PCE degradation by-products in the drinking water serving your home in Tarawa
Terrace by entering the dates you lived in Tarawa Terrace housing from 1952 to 1987."
Following a disclaimer, a search engine produces contaminant concentrations, reported to 4
significant digits, for any or all months between January 1952 and February 1987, With no error
bars or ranges included, this webpage conveys a sense of certainty that is not justified. The
usefulness of the website would be enhanced if it accurately conveyed the degree of uncertainty
in the model-derived concentrations.

Other concems with model calibration include the simulation of contaminant mass loading and
groundwater flow. With Dense, Non-Aqueous Phase Liquids (DNAPLs) such as PCE, mass
estimation is always quite difficult and subject to very high uncertainty due to irregular

movement and distribution of DNAPL in the subsurface. For Tarawa Terrace groundwater, the
difference between observed and simulated elevations is 5 to 10 feet at many times during the 11.1
1970)’s and 1980's. This is a significant disparity because the total change in groundwater :
elevation from the source area to the receptor wells is approximately 10 to 12 feet. In addition,

model results suggest that the simulated PCE concentrations at the WTP depend significantly on

the pumping rates at the various water supply wells. The degree to which simulated well

operations match actual operations is a concern. The Navy/Marine Corps would welcome the
opportunity for further technical discussion with ATSDR on these issues.

The ATSDR performed a sensitivity analysis to determine the relative importance of individual
model parameters. In addition, a probabilistic analysis was performed to assess variability and
uncertainty associated with the model results. Both approaches are standard practice. Chapter A
of the ATSDR modeling report describes the probabilistic analysis, during which input
parameters such as hydraulic conductivity, recharge, and dispersivity were chosen from
distributions of possible values. The model was run 840 times to produce “realizations” that
form a distribution of simulated PCE concentrations, rather than a single result (pp. A52 — A61
of the ATSDR modeling report). However, certain combinations of input parameters resulted in
wells drying out, so only 510 physically viable realizations were produced. Thus, 330 out of 840
realizations were not viable, raising concerns about the representativeness of the input parameter
distributions. Although a summary of the probabilistic analysis is presented in Chapter A of the
ATSDR modeling report, the details will be in Chapter I, which is not yet available. The
Navy/Marine Corps feels that additional information on this matter would likely help our 14.1
understanding.

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Attachment 1: Department of the Navy Comments, June 19, 2008--continued

Overall, it is important to keep in mind that both the sensitivity analysis and the probabilistic
analysis were performed entirely within the “model world,” not the “real world.” These methods
provide valuable insight into the behavior of the model, but they are not a substitute for real,
measured PCE concentrations. Again, the Navy/Marine Corps looks forward to additional
discussion and clarification of our understanding of these issues.

Summary

T The usefulness and applicability of the model-derived PCE concentrations for Tarawa Terrace
are affected by the following:

1. Model simulations provide monthly concentrations from 1952 to 1987, but measured
concentrations for model calibration are available only in 1982 and 1985. Thus, the
majority of the simulated concentrations cannot be compared to measured data.

15.1 2. Simulated concentrations did not fall within calibration targets for a majority of the

measured PCE concentrations at the water supply wells, suggesting that the “accuracy” of

the model is less than the chosen calibration standard of + 1/2-order of magnitude.

Due to lack of measured PCE concentrations, the Tarawa Terrace model was not

validated. Therefore, the model was not “put at risk,” and it is difficult to judge the

accuracy of the simulated PCE concentrations beyond the limited times when calibration

-—- data are available.

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Groundwater modeling studies are always subject to a high degree of uncertainty, and in this
sense, the Tarawa Terrace water model is no exception. However, the goal of the Tarawa
Terrace model is to reconstruct PCE concentrations on a monthly basis over approximately 30
16.1 yeais in order to conduct a health study. This is an extremely difficult goal since measured PCE
concentrations are not available prior to 1982, and the historical reconstruction of monthly
exposure concentrations must go back to the 1950's. Any use of reconstructed concentrations
|_mus! take into account the inherent uncertainty in the model results.

Recommendations

As a starting point for further discussions, the Navy/Marine Corps proposes the following
recommendations:

1. Improve communication with the public and other stakeholders by developing a method
for presenting the uncertainty in the model-derived PCE concentrations. The method
should be clear and readily understood, perhaps using error bars or presenting a
concentration range rather than a single number. The method should be applied
consistently whenever concentrations are discussed or presented in model reports,

17.1 websites, public meetings, etc.

Po

Convene an expert panel to examine the model results and determine the best use for the
data. Overall, the panel should develop a path forward that is scientifically sound and
will best meet the critical concerns of the public.

ig)

Finalize the remaining sections of the Tarawa Terrace water modeling report.

4. Apply all lessons learned from the Tarawa Terrace modeling efforts to the scoping of the
approach tor Hadnot Point.

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RESPONSE TO THE DEPARTMENT OF THE Navy’s LETTER ON ASSESSMENT OF ATSDR Water
NIoDELING FOR TARAWA TERRACE

ATTACHMENT 2: CHRONOLOGY OF MEETINGS, PRESENTATIONS, AND PUBLICATIONS RELATED
TO THE HISTORICAL RECONSTRUCTION OF CONTAMINATED DRINKING WATER AT U.S. MARINE
Corps Base Camp Leseune, NorTH CAROLINA

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Attachment 2. Chronology of meetings, presentations, and publications related to the historical reconstruction of contaminated drinking water at U.S. Marine Corps
Base Camp Lejeune, North Carolina.

[ATSDR, Agency for Toxic Substances and Disease Registry: DOD, Department of Defense: USN, U.S. Navy; USMC, U.S. Marine Corps; USMCHQ;: U.S. Marine
Corps Headquarters; CL, Camp Lejeune; EMD, Environmental Management Division: GT, Georgia Institute of Technology; AHE, AH Environmental Consultants;

USGS, U.S. Geological Survey; PPT, Power Point presentation; N/A, not applicable}

7 July 2003

ATSDR site visit to Camp
Lejeune

Camp Lejeune, NC

ATSDR: Morris Maslia, Jason Sautner

CL/EMD: Thomas Burton, Brynn Ashton,
Scott Brewer

CL/Water Utilities; Mack Frazelle

| ATSDR staff described use of
water modeling for historical
reconstruction approach,
requested data and information

Presentation of ATSDR’s water

ATSDR: Morris Maslia, Jason Sautner,
Frank Bove, Wendy Kaye, G. David
Williamson

GT: Mustafa Aral

Copies of presentation provided
al meeting including CD-ROM

8 Oct 2003 medeline aaprosen ATSDR, Atlanta, GA USMHOQ: Nick Ta contaiming PEF presentation.
USMCY/CL: Thomas Burton Sy a (ie ect lee tine Sp
USN: Kim Parker-Brown sheet and presentation title slide
DOD: T, Michael White
ATSDR: Morris Maslia, Jason Sautner,
Frank Bove, Claudia Valenzeula
USMC/CL: Scott Brewer, Scott Williams,
Presentation of ATSDR’s water Brynn Ashton, Thomas Burton, Mack Copies of presentation provided to
1] Mar modeling approach to USMC/ Camp Lejeune, NC Frazelle, Danny Hill, CAPT Kevin Slates meeting attendees, See attached
2004 CL, USMCHQ staff, and : (AC/S IT&E) meeting sign-in sheet, and
USMC contractor USMCHO: MAJ Harold Graef presentation title slide
CONTRACTORS: Robert Faye (ATSDR),
AHE (USMC)
Expert Peer Review Panel USMC representative sitting on
28 Mar to review ATSDR’s water- ; panel—Dr, Peter Pommerenk of
2005 odeline acuvahecar Camm ATSDR, Atlanta, GA Panel members — See attached list AHE. See Masia (2005) for
_| Lejeune peer panel report _ =
ATSDR: Tom Sinks, Frank Bove, Perri ATSDR presents results of arrival
Ruckart, Morris Maslia of PCE at TT-26 (May 1960)
26 Aug Meeting with and presentation to USMCHQ, Washington, | USMCHQ: Lt. Gen. Kelly and staff, Carla and TT-23 (Summer 1984)
2005 Lt. General Kelly DC Lucchino (ADC/I&L), Kelly Dryer, Craig above 5 ppb level. See meeting

Sakai, et al.
USMCY/CL: Scott Williams, Brynn Ashton

agenda and talking points

Chronology of Meetings, Presentations, and Publications Related to Tarawa Terrace Water Modeling

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Attachment 2. Chronology of meetings, presentations, and publications related to the historical reconstruction of contaminated drinking water at U.S. Marine Corps
Base Camp Lejeune, North Carolina—continued

ATSDR presents approach to
water modeling and summary
ATSDR: Tom Sinks, Frank Bove, Perri of water-modeling results
Ruckart, Morris Maslia for Tarawa Terrace area,
18 May Meeting with and presentation to | USMCHQ, Washington, | USMCHQ: Lt. Gen. Kelly and staff, Carla including graph showing PCE
2006 Lt. General Kramlich DC Lucchino (ADC/I&L), Kelly Dryer, Craig concentrations in well TT-26
Sakai, et al. and at Tarawa Terrace water
USMC/CL: Scott Williams, Brynn Ashton treatment plant. Copies of
presentation including CD given
to Lt. Gen, Kramlich and staff
ATSDR summary of FINAL
ATSDR: Tom Sinks, Frank Bove, Perri Tarawa Terrace water-modeling
Mastin with and preseatation Ruckart, Morris Maslia resulis. Provides USMC with
11 June tot. General Keanslich — | USMCHQ, Washington, USMCHQ: Lt. Gen. Kelly and staff, Carla copies of Tarawa Terrace
; Lucchino (ADC/I&L), Kelly Dryer, Craig Executive Summary report (to
2007 Final Tarawa Terrace results DC i tad ‘ 5
(Executive Summary report) Sakai, et al. be publically released 12 June
USMC/CL: Fred Cone, Scott Williams, 2007). Copies of presentation
Brynn Ashton given to Lt. Gen. Kramlich and
staff
Public release of final Tarawa Chapter A (Summary of Findings)
July 2007 — Terrace Chapter Reports (A-H) Atlanta. GA N/A released July 2007. Chapter F
Feb 2008 in hard copy and on ATSDR : (Fate and Transport) released
Web site February 2008.
ATSDR: Mestis Maslia, Jason Sayinet, ATSDR presents summary details
Frank Bove, Bill Cibulas, Susan Moore,
sft of all Tarawa Terrace water-
ct Must A Ee
26 Mar | Technical information meeting ATSDR. Atlanta. GA ERG; Robert Faye Saat eee and waitin
2008 with USN and their consultants : ’ USMC/CL: Scott Williams modéline anaraach
USN: Kim-Parker Brown, Dan Waddill & app ,
i Saath ps ; ATSDR also presents work plan
DODET Michael White for Hadnot Point/Holcomb
USN Consultants: Hall Davis (USGS), Peter Raulevard with tine Ene
Pommerenk (AHE) :
US. Navy transmits to ATSDR ; Deiter weilter( to Tour Sinks with eopies to Electronic mail transmitting
19 June electronic written comments on: + se letter from Kim-Parker Brown
N/A H. Frumkin, C. Aloisio, F. Bove, and M.
2008 Assessment of ATSDR Water Maslia (and other USN/USMC staff) requests response by 8 July
Modeling for Tarawa Terrace 2008.

Chronology of Meetings, Presentations, and Publications Related to Tarawa Terrace Water Modeling

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Attachment 2. Chronology of meetings, presentations, and publications related to the historical reconstruction of contaminated drinking water at U.S. Marine Corps
Base Camp Lejeune, North Carolina—continued

Meeting with DOD, US Navy, and US Marine Corps to Present ATSDR’s Water-Modeling Approach, 8 October 2003

Historical Reconstruction of Water Resources for Marine Corps Base Camp Lejeune, North Carolina: ATSDR’s Approach

October 8, 2003
Sign-in Sheet
Name Affiliation Telephone Email
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Chronology of Meetings, Presentations, and Publications Related to Tarawa Terrace Water Modeling Page 3

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Attachment 2. Chronology of meetings, presentations, and publications related to the historical reconstruction of contaminated drinking water at U.S. Marine Corps
Base Camp Lejeune, North Carolina—continued

Meeting with DOD, US Navy, and US Marine Corps to Present ATSDR’s Water-Modeling Approach, 8 October 2003

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Chronology of Meetings, Presentations, and Publications Related to Tarawa Terrace Water Modeling Page 4

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Attachment 2. Chronology of meetings, presentations, and publications related to the historical reconstruction of contaminated
drinking water at U.S. Marine Corps Base Camp Lejeune, North Carolina—continued

Meeting with US Marine Corps and their Consultants to Present ATSDR’s Water-Modeling
Approach, 11 March 2004

Water Modeling Coordination Meeting
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Chronoiogy of Meetings, Presentations, and Publications Related to Tarawa Terrace Water Modeling Page 5

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Attachment 2. Chronology of meetings, presentations, and publications related to the historical reconstruction of contaminated drinking water at U.S. Marine Corps
Base Camp Lejeune, North Carolina—continued

Meeting with US Marine Corps and their Consultants to Present ATSDR’s Water-Modeling Approach, 11 March 2004

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Chronology of Meetings, Presentations, and Publications Related to Tarawa Terrace Water Modeling Page 6

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Attachment 2. Chronology of meetings, presentations, and publications related to the historical reconstruction of contaminated drinking water at U.S. Marine Corps

Base Camp Lejeune, North Carolina—continued

Expert Peer Review Panel Meeting, Atlanta, Georgia, March 28-29, 2005

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Expert Peer Review Panel Evaluating ATSDR's
Water-Modeling Activities in Support of the Current
Study of Childhood Birth Defects and Cancer at

U.S. Marine Corps Base Camp Lejeune, North Carolina
Analyses of Groundwater Resources and

Present-Day (2004) Water-Distribution Systems,
March 28-29, 2005

Edited by
Mortis L. Maslia

Prapared fo

Agency for

Toxic Substances and
Disease Registry,
Atlanta, Georgia

Prepared by
Eastern Research
Group, Inc.,
Atlanta, Georgia

Appendix B

Pane] Members

Harry L. Johnsen, PhD, PCR.
Panel Char, Assetant Surgeon General (ret)
Adjurict Profcxeor, Rollins School of
Public Health, Emory Univerany:
Edivor. Journal of Human and Beologeal
Risk Avsessrnent
Athem, Georgia

oben M. Clark, PhD, PE, DEE
Environmental Engineering 4 Public
Health Cone tont
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Daved I. Dougherty, Phi
Precipal, Subtermncan Research, Ine
Duxbury, Maceschweette

Benjamin L, Harding, PE
Poncipal Fngincer, Hydrosphere Resource
‘Comeulcants, Ine
Boulder, Colorado

Leonand F Ronkew, Pal. ACG
Resewech Hydrologist, 15, Cealogieal Survey
Reston, Verginia

Enc M LaBolle, PhL
Scena, University of California,
Davis. Californias

Peter Pommerenk, PhD, PE.
Project Manager, AH Kavirenitental
‘Consultants, bre
Newport News, Vinguna

Vijay P Singh, Pa), DSc. PE
ALK. Barton Profywet, Departrient sf
(Civil und Gaviroomental Ln gineering.
Lousiana State University
Raton Rowe, Louisiana

Janves G, Uber, PhD
Associate Professor, Department of Civil und
Environmental Engincoriug, University of
Ciocemals, Oh

Thomas M. Walski, PhD, Ms, DEE
View President Engincering Homey Systems
Nanticoke, Memnyy Iver

List of Presenters and Project
Team Attendees
Mustata Aral, PhD, PE

Georg Institue af Technology
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Frank Bove. Dse
Agency for Toxic Substances and
Disease Reyisery (ATSDR)

Robert haye, MSCE, I"
Roben E. Faye & Associates, Ine.
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Oak Ridge Institute for Scienoe A Kubica hore
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Chronology of Meetings, Presentations, and Publications Related to Tarawa Terrace Water Modeling

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Attachment 2. Chronology of meetings, presentations, and publications related to the historical reconstruction of contaminated drinking water at U.S. Marine Corps
Base Camp Lejeune, North Carolina—continued

Expert Peer Review Panel Meeting, Summary and Recommendations, March 28-29, 2005

6.0 Summary of Recommendations from Panel Members
and ATSDR’s Response

At the end of the meeling, the pund) chair, tie panel members, and ATSDR agreed (fil pare!
Inerihers wot inde idually prevede overall Tinal comments, recommendations, and conc hispome
WAPSDR. Specie comments an! recermmin lations fran eich panel member are pevevidhed ity dhe
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HSPs ary grouped inde five gewermlcred cukemern nes.

6.1 Data Discovery

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a conducting mere ripentits data discovery activities. To the extent pottible, the apency shomld
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64 Data Analyses, Hadnot Point Area

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femourcey dinal work wel i partners wid conrrontiry he umplornant lie prucnt neccummemuul thar

65 Water-Distribution System Analyses

Manel members commendal AYSIK forthe vigor ard qualiny it fee fed lve paniony anil
cirrentitel amuligons of te water distrihytion systerid Hecause fowmeters are already
jnmalled, members recommended that ATSIK proceed with collecting data from the Nowmeters.
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Chronology of Meetings, Presentations, and Publications Related to Tarawa Terrace Water Modeling

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Attachment 2. Chronology of meetings, presentations, and publications related to the historical reconstruction of contaminated drinking water at U.S. Marine Corps
Base Camp Lejeune, North Carolina—continued

Meeting with Lt. General Kelly and Staff, U.S. Marine Corps Headquarters, 26 August 2005

Agenda Talking Polots for Meoting with La, Generi) Kelley
Agency for Toxic Substances and Disease Registry (ATSDR) AUG um 26- 2008
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© ATSDR will remove all field testing equipment (ecole all fieh) test activities)

On 7 September 2005

Peer Mune! Recommendations Response (ri Fran Bove * Release report on Water Modeling Exper Peer Review Parcel —Seprember 30, 2005

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Relate of ATSDR Response De, Thomas Sinks * Re joni for Water Modeling Expert Peer Review Pane!
Update on Current Study Stim Dr, Perri Ruckart © Conducting Dai Discovery activities tad Issthes WEL, cule
° Mr, Mortis Mawlin oe Condicling sensitivity and unceruanty wmilyses to provide epidemioloyist with

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* Searching for data on interconnections, Well operations, Hadnot Point
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Chronology of Meetings, Presentations, and Publications Related to Tarawa Terrace Water Modeling Page 9

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Attachment 2. Chronology of meetings, presentations, and publications related to the historical reconstruction of contaminated drinking water at U.S. Marine Corps
Base Camp Lejeune, North Carolina—continued

Meeting with Lt. General Richard Kramlich and Staff, U.S. Marine Corps Headquarters, 18 May 2006

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Attachment 2. Chronology of meetings, presentations, and publications related to the historical reconstruction of contaminated drinking water at U.S. Marine Corps

Base Camp Lejeune, North Carolina—continued

Meeting with Lt. General Richard Kramlich and Staff, U.S. Marine Corps Headquarters, 11 June 2007

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Chronology of Meetings, Presentations, and Publications Related to Tarawa Terrace Water Modeling Page 11

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Attachment 2. Chronology of meetings, presentations, and publications related to the historical reconstruction of contaminated drinking water at U.S. Marine Corps
Base Camp Lejeune, North Carolina—continued

Release of Tarawa Terrace Chapter A Report

(Summary of Findings), July 2007 Release of Tarawa Terrace Chapter F Report

(Fate and Transport), February 2008

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Chronology of Meetings, Presentations, and Publications Related to Tarawa Terrace Water Modeling Page 12

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Attachment 2. Chronology of meetings, presentations, and publications related to the historical reconstruction of contaminated drinking water at U.S. Marine Corps

Base Camp Lejeune, North Carolina—continued

Technical Information Meeting with U.S. Navy and U.S. Marine Corps, 26 March 2008

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WORK PLAN IT

Historical Reconstruction Analysis of
Volatile Organic Compound Contamimation of Drinking Water Supplies
United States Marine Corps Base
Camp Lejeune, North Carolina

by Morris L. Maslia, MSCE. P.E.

Exposure In and Site A Branch
Division of Health Assessment and Consultation
Agency for Toxic Substances and Disease Registry

March 20, 200%

Cunp Lejeune. NC, Health Study

Chronology of Meetings, Presentations, and Publications Related to Tarawa Terrace Water Modeling

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Attachment 2. Chronology of meetings, presentations, and publications related to the historical reconstruction of contaminated drinking water at U.S. Marine Corps
Base Camp Lejeune, North Carolina—continued

Technical Information Meeting with U.S. Navy and U.S. Marine Corps, 26 March 2008

Table 2. Schedule of proposed tasks, activities, and meetings, historical reconstruction analysis of contaminated drinking water, Hadnot Point
and vicinity. U.S. Marine Corps Base Camp Lejeune, North Carolina.

mag lL Fiscal Year 2008 Fiscal Year 2009

Task or activity Duration Gata | GQuarter2 | Quarter3 | Quarter 4 Quarter 4 Quarter 2 Quarter 3 Quarter 4

dan. Feb Mar| Apr | May Jun | Jul [Aug Sep Oct |Nov. Dec |Jan| Feb Mar | Apr! May! Jun | Jul Aug Sep

Date analysis (16 sites)
Computation of mass ~6 sites)
‘Weill capacity histones (100 wells)
Statistical analysis

Fate analysis

Mote selection

Grid design and data input

Fate and transport analysis | ———— SSE SS Fes ey
Water detribubon system analyss | ' | a

ive
Extemal progress meetings | i a

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sep 4 a
Table 3, Comparison of data and information availability for Hadnot Point and Tarawa Terrace areas.
Descriptive data and information Hadnot Point and vicinity’ Tarawa Terrace and vicinity
Active model domain 40 mir 2.1 mi°
Number of wells and boreholes (includes hydropunch) 720 185
Number of water-level measurements 4,700 $20
Number of groundwater samples analyzed for chlorinated solvents 2,200 192
Number of groundwater samples analyzed for Benzene, Toluene. 1.800 191
Ethylbenzene, and Nylenes (BTEX)
“Estimated values for Hadnot Point and vicinity
Chronology of Meetings, Presentations, and Publications Related to Tarawa Terrace Water Modeling Page 14

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RESPONSE TO THE DEPARTMENT OF THE Navy’s LETTER ON ASSESSMENT OF ATSDR Water
NIODELING FOR TARAWA TERRACE

ATTACHMENT 3: COMPARISON OF CONTAMINANT FATE AND TRANSPORT CALIBRATION STATISTICS
FOR THE NAVAL AIR STATION, JACKSONVILLE, FLORIDA, AND TARAWA TERRACE,
Camp LeJEUNE, NorTH CAROLINA SITES

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Attachment 3. Comparison of contaminant fate and transport analyses calibration statistics

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Naval Air
Station, Trichloroethylene 9/16 7/16
Jacksonville, (TCE) iS ? (56%) (44%) oa
FL
Tarawa
Terape Camp Tetrachloroethylene 9 V7 12 bie eee 337
Lejeune, NC (PCE) (59%) (41%)

' Refer to the following references: Jacksonville NAS: Davis JH, Fate and Transport Modeling of Selected Chlorinated Organic Compounds at Hangar
1000, U.S. Naval Air Station, Jacksonville, Florida. Tallahassee, FL: U.S. Geological Survey Water-Resources Investigations Report 03-4089; 2003;
Tarawa Terrace, Camp Lejeune: Maslia ML, Sautner JB, Faye RE, Suarez-Soto RJ, Aral MM, Grayman WM, Jang W, Wang J, Bove FJ, Ruckari PZ,
Valenzuela C, Green JW Jr, and Krueger AL. Analyses of Groundwater Flow, Contaminant Fate and Transport, and Distribution of Drinking Water al
Tarawa Terrace and Vicinity, U.S. Marine Corps Base Camp Lejeune, North Carolina: Historical Reconstruction and Present-Day Conditions—Chapter A:
Summary of Findings, Atlanta, GA: Agency for Toxic Substances and Disease Registry; 2007.

* Paired data point, a location with observed data (concentration) that is associated with a model location for the purpose of comparing observed data with
model results: for Davis (2003), see Figure 34 (page 37); for Maslia et al. (2007), see Tables A9 and A10 (pages A27 and A28).

* No calibration target was described in Davis (2003) for contaminant fate and transport modeling. Therefore, the calibration target described in Maslia et al.
(2007, Table A&) of +1/2-order of magnitude of observed data is used for comparison purposes.

N, i
y ( cm 1 oe y
RMS =| =

' The root-mean-square or RMS is defined as: N,

. where NV, is the number of paired data points, ce is the observed or

measured concentration of the ‘th paired data point and cn is (he corresponding model simulated concentration of the ith paired data point.

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Attachment 3. Comparison of contaminant fate and transport analyses calibration statistics—continued

Fate and transport of trichloroethylene (TCE), Hangar 1000, Naval Air Station, Fate and transport of tetrachloroethylene (PCE), Tarawa Terrace, U.S. Marine
Jacksonville, Florida’ Corps Base Camp Lejeune, North Carolina*
Calibration target*° Calibration target®
Sample Measured Simulated Pass or fail Sample Measured Simulated Pass or fail
ipeation® concentration, +1/2-order -1/2-order | concentration, _callibration location concentration, +4/2 aie concentration, calibration
in pg/L of of in pg/L target and date in ug/L order of order of in ug/L target
magnitude magnitude magnitude magnitude
H10-MW01 7.8 25 3 19.8 Pass TT-23:
HI0-MWw02 1.0 3 0 0.0 Pass 1/16/1985 132 42 417 254 Pass
H10-MW03 3.1 10 l 0.0 Fail 2/12/1985 37 12 117 253 Fail
H10-MW05 18.5 59 6 0.0 Fail 2/19/1985 26:2 8 83 253 Fail
H10-MW06 36.2 115 11 231.6 Fail 3/11/1985 14.9 5 47 265 Fail
H10-MW07 4.2 13 ] 25.3 Fail 3/11/1985 16.6 3 as 265 Fail
H10-MW08 8,608.5 27,223 2,722 8.710.0 Pass 3/121985 40.6 13 128 265 Fail
H10-MW10 1.0 3 0 0.0 Pass 3/12/1985 48.8 15 154 265 Fail
H10-MW12 94.5 299 30 596.4 Fail 9/251985 4 ] 13 279 Fail
H10-Mw14 266.0 84] 84 652.6 Pass TY-25:
H10-MW15 578.0 1,828 183 356.5 Pass 9/25/1985 0.43 0 ] 18.1 Fail
H10-MW 16 48.1 152 15 47.2 Pass 7/11/1991] 23 7 73 72.7 Pass
H10-MW17 16.3 42 5 29.5 Pass TT-26:
H10-MW18 0.8 3 0 8.6 Fail 1/16/1985 1,580.0 500 4,996 804 Pass
H10-MW19 1,077.8 3,409 341 229.0 Fail 2/12/1985 3.8 l 12 804 Fail
H10-MW22 1,610.0 5,091 509 2,396.0 Pass 2/19/1985 64.0 20 202 798 Fail
2/19/1985 $5.2 18 175 798 Fail
4/9/1985 630 199 1,992 801 Pass
6/24/1985 1,160.0 367 3,668 799 Pass
9/25/1985 1,100.0 348 3,468 788 Pass
T/LL/1991 350.0 111 1,107 670 Pass
RW2:
7/12/1991] 760 240 2,403 879 Pass
TI-WITP:
$/27/1992 80 25 253 148 Pass
7/28/1982 104 33 329 112 Pass
‘Sample data and simulation results from Davis (2003, Figure 34). 7/28/1982 76 24 240 112 Pass
*Sample data and simulation results from Maslia et al, (2007, Tables A9 and A10). 28/1982 82 26 259 112 Pass
>All samples measured on January 17, 2001 (Davis 2003, Figures 16 and 34). eae a 25 253 ca Pass
‘No calibration target was provided in Davis (2003) for contaminant fate and os 8 an 6 * - i 7 a
transport modeling; the calibration targets +1/2-order of magnitude of measured 3/12/1985 213 7 67 8.7 Pass
data suggested by Maslia et al. (2007) are applied to the measured data of Davis 4/22/1985 1 0 3 81 Fail
(2003, Figure 16) for comparison purposes. 4/29/1985 a7 I 12 8.1 Pass

* Calibration targets are rounded to nearest integer.

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RESPONSE TO THE DEPARTMENT OF THE Navy’s LETTER ON ASSESSMENT OF ATSDR WateR
NIoDELING FoR TARAWA TERRACE

ATTACHMENT 4: SIMULATED CONCENTRATIONS OF TETRACHLOROETHYLENE IN FINISHED WATER AT
THE WATER TREATMENT PLANT, TARAWA TERRACE, U.S. Marine Corps Base
Camp LEJEUNE, NoRTH CAROLINA (FROM MAsLiA ET AL. 2008, ApPENDix 15)

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Attachment 4: ATSDR Response to DON Letter of June 19, 2008

Appendix 5. Simulated concentrations of tetrachloroethylene in finished water at the water treatment plant, Tarawa Terrace,
U.S. Marine Corps Base Camp Lejeune, North Carolina.

[PCE, tetrachloroethylene: pg/L, microgram per liter: P, , Monte Carlo simulation results for the 2.5 percentile: P

so Monte Carlo simulation results for

the 50 percentile: P,. s Monte Carlo simulation results for the 97.5 percentile: WTP, water treatment plant: Jan, January; Feb, February; Mar, March:
Apr, April: Aug, August: Sept, September; Oct, October; Dec, December]

Range of concentrations derived from Monte Carlo simulations*

Stress Month es Monte Carlo simulation (Scenario 1)’ Monte Carlo simulation (Scenario 2)*
period and year in pail” Py P, Fy Re Fx Pay
in pg/L in pg/L in pg/L in pg/L in yg/L in pg/L

1-12) Jan—-Dee 1951 WTP not operating
I3 Jan 1952 0.00 0.00 0,00 0.00 0,00 0.00 0,00
14. Feb 1952 0.00 0,00 0.00 0.00 0.00 0.00 0.00
15 Mar 1952 0.00 0.00 0.00 0.00 0.00 0.00 0.00
16 Apr 1952 0.00 0.00 0.00 0.00 0.00 0.00 0.00
17 May 1952 0.00 0.00 0.00, 0,00 0.00 0.00 0.00
18 June 1952 0.00 0.00 0.00 0.00 0.00 0.00 0.00
19 July 1952 0.00 0.00 0.00 0.00 0.00 0.00 0.00
20 Aug 1952 0.00 0.00 0.00 0.00 0.00 0.00 0.00
21 Sept 1952 0.00 0.00 0.00 0.00 0.00 0.00 0.00
22 Oct 1952 0.00 0.00 0.00 0.00 0.00 0.00 0.00
23 Nov 1952 0.00 0.00 0.00 0.00 0.00 0.00 0.00
24 Dee 1952 0.00 0,00 0.00 0.00 0.00 0.00 0.00
25 Jan 1953 0.00 0.00 0.00 0.00 0,00 0,00 0.00
26 Feb 1953 0.00 0.00 0.00 0.00 0.00 0.00 0.00
27 Mar 1953 0.00 0.00 0.00 0.00 0.00 0.00 0.00
28 Apr 1953 0.00 0.00 0.00 0.00 0,00 0,00 0.00
29 May 1953 0,00 0.00 0,00 0.00 0,00 0,00 0,00
30 June 1953 0.00 0.00 0.00 0.00 0.00 0.00 0.00
31 July 1953 0.00 0.00 0,00 0.00 0.00 0.00 0.00
32 Aug 1953 0.00 0.00 0.00 0.00 0.00 0.00 0.00
33 Sept 1933 0.00 0.00 0.00 0.00 0.00 0.00 0.00
34 Oct 1953 0.00 0.00 0.00 0.00 0.00 0.00 0.00
BD Nov 1953 0.00 0.00 0.00 0.00 0.00 0.00 0.00
36 Dec 1953 0.00 0.00 0.00 0.00 0.00 0.00 0.00
a7 Jan 1954 0.00 0.00 0.00 0.00 0.00 0,00 0.00
38 Feb 1954 0.00 0,00 0.00 0.00 0.00 0,00 0.00
39 Mar 1954 0.00 0,00 0.00 0.00 0.00 0.00 0.00
40 Apr 1954 0.00 0.00 0.00 0.00 0.00 0.00 0.00
41 May 1954 0.00 0.00 0,00 0.00 0,00 0,00 0.00
42 June 1954 0.00 0.00 0,00 0,00 0.00 0.00 0.00
43 July 1954 0.00 0.00 0.00 0.00 0.00 0,00 0.00
+4 Aug 1954 0.00 0.00 0,00 0,00 0,00 0,00 0.00
45 Sept 1954 0.00 0.00 0,00 0.00 0,00 0,00 0.00
46 Oct 1954 0.00 0.00 0.00 0.00 0.00 0.00 0.00
47 Nov 1954 0.00 0.00 0.00 0.00 0,00 0,00 0.00
48 Dee 1954 0.00 0.00 0,00 0.00 0.00 0.00 0.00
49 Jan 1955 0.00 0.00 0.00 0.00 0.00 0.00 0.00
50 Feb 1955 0.00 0.00 0.00 0.00 0.00 0.00 6.00
31 Mar 1955 0.00 0.00 0.00 0.00 0,00 0.00 0.00
52 Apr 1955 0.00 0.00 0.00 0.01 0.00 0.00 0.01
a3 May 1955 0.00 0.00 0.00 0.01 0.00 0.00 0.01
54 June 1955 0.01 0.00 0.00 0.01 0.00 0.00 0.01
33 July 1955 0.01 0.00 0.01 0,02 0.00 0.01 0.02
56 Aug 1955 0.01 0.00 0.01 0.03 0.00 0.01 0.02
37 Sept 1953 0.02 0.00 0.01 0.04 0.00 0.01 0.03
38 Oct 1955 0.03 0.01 0.02 0,05 0.01 0.02 0.04
39 Nov 1953 0.04 0.01 0.03 0.07 0.01 0.03 0.07
60 Dec 1955 0.06 0.01 0.04 0.09 0.01 0.03 0.09

Chapter |: Parameter Sensitivity, Uncertainty, and Variability Associated with Model Simulations of 1

Groundwater Flow, Contaminant Fate and Transport, and Distribution of Drinking Water

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Attachment 4: ATSDR Response to DON Letter of June 19, 2008

Appendix 15. Simulated concentrations of tetrachloroethylene in finished water at the water treatment plant, Tarawa Terrace,
U.S. Marine Corps Base Camp Lejeune, North Carolina Continued

[|PCE, tetrachloroethylene: jig/L., microgram per liter: P,., Monte Carlo simulation results for the 2.5 percentile: P,,. Monte Carlo simulation results for
the 30 percentile; P| ., Monte Carlo simulation results for the 97.5 percentile; WTP, water treatment plant; Jan, January; Feb, February: Mar, March:
Apr, April; Aug, August: Sept, September; Oct, October; Dec, December]

Range of concentrations derived from Monte Carlo simulations®

Stress Month rec anar Monte Carlo simulation (Scenario 1)’ Monte Carlo simulation (Scenario 2)
period and year : :
in pg/L’ Pe Po Pay Pay Pas Pury
in pg/L in pg/L in pg/L in pg/L in pg/L in ug/L
61 Jan 1956 0.08 0.02 0.05 0.12 0.02 0.04 0.12
62 Feb 1956 0.10 0.02 0.07 0.16 0.02 0.06 O.15
63 Mar 1956 0.13 0.03 0,09 0.21 0.03 0.08 0.18
64 Apr 1956 O17 0.04 0.12 0.26 0,04. 0.10 0.24
65 May 1956 0.23 0.05 0.15 0.33 0.05 0.12 0.29
66 June 1956 0.29 0.07 0.20 0.42 0.06 0.15 0.34
67 July 1956 0.36 0.09 0.25 0.52 0.08 0.18 0.41
68 Aug 1956 0.46 012 0.31 0.65 0.10 0.23 0.51
69 = Sept 1956 0.57 0.15 0.38 0.79 0.13 0.29 0.65
70 Oct 1956 0.70 0.18 0.47 0.96 0.16 0.35 0.78
71 ~~ Nov 1956 0.85 0.23 0.57 1.16 0,22 0.47 1.03
72 Dec 1956 1.04 0.28 0.69 1.38 0.24 0.54 1.14
73 ‘Jan 1957 1.25 0.35 0.83 1.63 0.31 0.63 1.38
74. Feb 1957 1.47 041 0.97 1.89 0.37 0.77 1.69
75. Mar 1957 1.74 0.49 1.16 2.21 0.43 0.88 1.84
76 Apr 1957 2.04 0.59 1.36 2.57 0.53 1.09 2.08
77 ~~ ‘May 1957 2.39 0.70 1.59 2.97 0.60 1.20 2.40
78 June 1957 2.77 0.83 1.84 3.40 0,64 1.31 2.51
79 July 1957 3.21 0.98 2.12 3.87 0.74 1.50 3.08
80 Aug 1957 3.69 1.15 2.45 4.42 0.87 1.73 3.38
81 Sept 1957 4.3] 1.33 2.80 4.99 1.07 2.11 3.83
82 Oct 1957 4.79 1.54 3.20 5.64 1.20 2.31 448
83. Nov 1957 5.4] 1.77 3.61 6.32 1.46 2.95 5.33
84 Dec 1957 6.10 2,02 4,08 7.07 1.61 3.08 5.81
85 ‘Jan 1958 6.86 2.29 4.60 7.87 1.81 3.43 6.42
86 Feb 1958 7.60 2.57 5.11 8.67 2.04 3.97 7.10
87 Mar 1958 8.47 2.88 5.71 9.58 2.36 4.36 7.74
88 Apr 1958 9.37 3.22 6.33 10.56 2.68 5.04. 8.73
89 May 1958 10.37 3.61 7.02 11.61 2.99 5.37 9.15
90 June L958 11.39 4.00 7.73 12.67 2.98 5.43 9.32
91 ‘July 1958 12.91 4,59 8.78 14,26 4.03 6.88 11.46
92 Aug 1958 14.12 5.09 9.61 15.49 4.55 7.67 12.57
93 Sept 1958 15.35 5.62 10,47 16.74 4.62 8.07 13.12
94 Oct 1958 16.69 6.19 11,39 18.13 5,24 8.98 14.89
95 Nov 1958 18.03 6.79 12,32 19.54 5.71 9.88 16.33
96 Dec 1958 19.49 7.45 13,33 21.07 6.32 10.83 17.27
97 Jan 1959 20.97 8.11 14.36 22.62 6.84 11.56 18.53
98 Feb 1959 22.35 8.77 15.34 23.97 774 12.87 20.40
99 Mar 1959 23.92 9.53 16.47 25.59 7.80 13.07 20.81
100 Apr 1959 25.49 10.24 17.59 27.22 8.26 14.30 23.52
101 May 1959 27.15 11,08 18,81 29.01 8.82 15.02 23.60
102 June 1959 28.81 11.94 20.01 30.78 10.46 16.86 25.74
103 July 1959 30.56 12.79 21.37 32.69 11.14 17.71 27.35
104 Aug 1959 32.36 13.70 22.77 34.63 12,06 18.88 28.65
105 Sept 1959 34.14 14.62 24,11 36.56 12,39 19,29 28.82
106 = Oct 1959 36.01 15.60 25,59 38.60 13.35 20.99 31.36
107. Nov 1959 37.85 16.60 27,04 40.57 13.30 22.66 35.03
108 = Dec 1959 39.78 17.68 28,50 42.59 14.48 23.99 36.02
2 Historical Reconstruction of Drinking-Water Contamination at Tarawa Terrace

and Vicinity, U.S. Marine Corps Base Camp Lejeune, North Carolina
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Attachment 4: ATSDR Response to DON Letter of June 19, 2008

Appendix !5. Simulated concentrations of tetrachloroethylene in finished water at the water treatment plant, Tarawa Terrace,
U.S. Marine Corps Base Camp Lejeune, North Carolina Continued

[PCE, tetrachloroethylene; ug/L, microgram per liter; P,., Monte Carlo simulation results for the 2.5 percentile: P,,, Monte Carlo simulation results for
the 50 percentile; P. ., Monte Carlo simulation results for the 97.5 percentile; WTP, water treatment plant; Jan, January: Feb, February; Mar, March;
Apr, April; Aug, August: Sept, September; Oct, October; Dec, December]

Range of concentrations derived from Monte Carlo simulations*
Calibrated PCE

Stress Month ‘ Monte Carlo simulation (Scenario 1) Monte Carlo simulation (Scenario 2)'
4 concentration,
period and year '

in ug/L! Py Po Past Pay Py Poise
in pg/L in pg/L in pg/L in pg/L in pg/L in pg/L
109 Jan 1960 41.86 18.82 30.15 44.74 15.99 24,99 38.89
110 Feb 1960 43.85 19.92 31.62 46.80 16.98 27,00 41.00
111 Mar 1960 46.03 21.13 33.16 49,07 17.85 26.94 41.01
112 Apr 1960 48.15 22.35 $4.81 51.31 18.45 29,03 43.84
113° May 1960 50.37 23.59 36.60 53.65 19.84 30.13 44.48
114 June 1960 52.51 24.80 38.35 55.92 22.20 33.22 47.21
115 July 1960 34.74 26.08 40.12 58.27 23,30 34.55 50.18
116 Aug 1960 56.96 27.37 42.13 60.60 24.49 36.32 51.82
117 Sept 1960 59.09 28.64 43.80 62.82 24.27 35.66 51.64
118 Oct 1960 61.30 29,98 45.51 65.09 26.27 38.51 55.86
119 Nov 1960 63.42 31.31 47.25 67.22 26.43 40.46 59.79
120 Dec 1960 65.61 32.81 48.96 69.64 26.91 43.02 60.66
121 Jan 1961 67.69 34,22 50.74 71.88 28.21 43.30 63.65
122 Feb 1961 69.54 35.52 52.42 73.96 30.97 45.69 70.43
123. Mar 1961 71.56 36.93 34.16 76.28 31.47 45.72 66.14
124 Apr 1961 73.49 38.31 55.82 78.51 32.33 47.92 70.86
125. May 1961 75.49 39.76 57.54 80.74 32.37 49,12 70.32
126 June 1961 77.39 41.04 59.14 82.99 38.28 53.02 73.49
127 July 1961 79.36 42.45 60.87 84.92 36.88 54.13 75.55
128 Aug 1961 81.32 43.86 62.61 86.79 38.78 56.07 77.30
129 Sept 1961 83.19 45.25 64.23 88.82 38.62 54.74 76.56
130 Oct 1961 85.11 46.69 65.85 90.84 40.37 58.11 80.91
131 Nov 1961 86.95 48.10 67.44 92.75 39.55 59.92 87.09
132 Dec 1961 88.84 49.61 69.03 94.71 42.20 62.63 86.40
133. Jan 1962 60.88 34.23 ATAT 64.96 27.60 42.46 62.20
134 Feb 1962 62.10 35.17 48.52 66.43 30.36 45.91 68.03
135. Mar 1962 62.94 35.84 49.35 67.26 31.00 45.13 66.06
136 Apr 1962 63.59 36.33 30.10 68.07 32.57 48.08 68.30
137 May 1962 64.17 36.80 50.73 68.98 31.10 46.57 66.06
138 June 1962 64.70 37.21 51.33 69.81 29.45 43.AT 61.90
139 July 1962 65.23 37.65 31.82 70.45 28.63 44.36 62.01
140 Aug 1962 65.74 38.07 52.41 71.23 29.87 45.14 64.88
141 Sept 1962 66.22 38.47 52.91 71.97 32.00 47.51 67.91
142 Oct 1962 66.71 38.89 53.53 72.74 30.29 47.30 68.59
143 Noy 1962 67.18 39.30 54.16 73.38 35.13 53.53 7751
144 Dec 1962 67.65 39.72 54.77 74.05 33.21 50.53 75.06
145 Jan 1963 68.06 40.19 55.24 74.67 32.41 49.74 74.10
146 Feb 1963 68.39 40.63 35.56 75.17 34.46 52.70 77.58
147 Mar 1963 68.73 ALIS 36.03 75.16 35.61 52.41 73.73
148 Apr 1963 69.03 41.66 56.47 76.32 36.91 55.39 79.81
149° May 1963 69.33 42.03 56.98 THAT 34.47 53.02 77.36
150 June 1963 69,62 42.25 37.46 77.94 34.18 49,23 70.00
151 July 1963 69.90 42,45 57.98 78.48 32.75 49.62 71.03
152. Aug 1963 70.17 42.67 58.43 79.00 34.06 51.05 73.06
153 Sept 1963 70.43 42.87 58.82 TAT 36.62 52.90 76.53
154 Oct 1963 70.69 43.17 59.15 79.90 36.26 52.47 77.15
155 Nov 1963 70.93 43.60 59.49 80.31 38.46 59.09 84.58
156 Dec 1963 71.17 43.90 59.88 80.88 36.71 56.06 80.60
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Attachment 4: ATSDR Response to DON Letter of June 19, 2008

Appendix I5. Simulated concentrations of tetrachloroethylene in finished water at the water treatment plant, Tarawa Terrace,
U.S. Marine Corps Base Camp Lejeune, North Carolina —Continued

[PCE, tetrachloroethylene: pg/L, microgram per liter; P,, Monte Carlo simulation results for the 2.5 percentile: P,,, Monte Carlo simulation results for
the 30 percentile: P| .. Monte Carlo simulation results for the 97.5 percentile; WTP, water treatment plant; Jan, January: Feb, February; Mar, March:
Apr, April; Aug, August: Sept, September; Oct, October; Dec, December]

Range of concentrations derived from Monte Carlo simulations’

Stress Month ee Monte Carlo simulation (Scenario 1)’ Monte Carlo simulation (Scenario 2)
period and year :
in pg/L! Pie Pay Poe Poe Pa Poi
in pg/L in pg/L in g/L in pg/L in pg/L ing
157 Jan 1964 71.40 44.18 60.32 81.34 35.81 55.22 80.71
158 Feb 1964 63.77 39.66 54.00 72.84 37.51 58.47 83.80
159 Mar 1964 63.95 39,92 54.36 73.38 37.37 37.84 81.58
160 Apr 1964 64.08 40.09 54.68 73.85 40.30 60.39 85.06
16] May 1964 64.19 40.31 54.98 74.28 39.56 57.23 84.15
162 June 1964 64.27 40.51 55.23 74.64 37.14 53.54 75.21
163 July 1964 64.34 40.61 55.45 74.98 35,59 $4.24 76.87
164 Aug 1964 64.39 40.68 55,64 75.27 37,29 $5.12 77.08
165 Sept 1964 64.43 40.75 55,82 75.62 39,55 57.96 80.84
166 Oct 1964 64.47 40.81 56,00 75.94 38.57 36.64 78.51
167 Nov 1964 64.49 40,88 56.18 76.19 42,49 63.10 91.13
168 Dec 1964 64.50 40.96 56,36 76.45 39,06 59.01 88.36
169 Jan 1965 64.50 4.10 56.58 76.70 37.87 59.05 88.52
170 Feb 1965 64.49 41.12 56.70 76.94 39.46 61.35 94.71
171 Mar 1965 64.47 41.14 56.78 TTA 41.20 60.99 89.98
172 Apr 1965 64.45 41.16 56.92 77.24 42.66 64.07 93.10
173 May 1965 64.42 41.20 57.06 77.13 41.03 61.17 87.07
174 June 1965 64.38 41,23 57,20 77.34 36.64 56.23 81.33
175 July 1965 64.33 41,26 57,22 77.80 38,15 57.32 81.83
176 Aug 1965 64.27 41.14 57,22 77.91 38,93 57.04 84.04
177 Sept 1965 64.20 41,03 57.22 77.92 41.40 60.36 84.29
178 Oct 1965 64.13 40,92 57.30 78.03 38.84 59.61 87.79
179 Nov 1965 64.05 40.85 57,34 78.10 44,47 66.00 95.45
180 Dec 1965 63.97 40.78 57.39 78.10 30,95 61.88 91.31
181 Jan 1966 63.88 40.81 57.48 78.26 39,34 61.61 91.59
182 Feb 1966 63.79 40.88 57,54 78.38 42.06 64.63 99.81
183 Mar 1966 63.68 41.01 57.62 78.45 414d 63.87 94.47
184 Apr 1966 63.57 41.20 57.61 78.33 43,72 66.91 97.21
185 May 1966 63.46 41.28 57.64 78.43 42,05 64.21 91.37
186 June 1966 63.34 41.40 57,70 78.44 38.28 58.86 86.56
187 July 1966 63.21 41.54 57,70 78.65 39.70 58.20 87.29
188 Aug 1966 63.08 41.69 57,74 78.94 30,57 60.11 87.73
189 Sept 1966 62.94 41.79 57.79 78.91 41,82 62.94 91.60
190 Oct 1966 62.80 41.73 57.82 78.87 40,67 60.35 90.52
191 Nov 1966 62.65 41.67 57.78 78.78 44.43 68.76 99,82
192 Dec 1966 62.50 41.60 57.82 78.70 40,92 63.19 97.26
193 Jan 1967 62.25 41.42 57.70 78.67 40.95 62.45 96.88
194 Feb 1967 61.99 41.20 57.61 78.56 41.00 66.51 98.39
195 Mar 1967 61.67 40.98 57,36 78.37 43,47 64.42 95.01
196 Apr 1967 61.35 40.74 57.12 78.11 44,75 66.63 97.65
197 May 1967 61.02 40.52 56,84 77.78 42.71 64,23 95.11
198 June 1967 60.69 40.22 56.65 77-54 38.89 58.53 86.55
199 July 1967 60.37 40,03 56.43 TIAS 38.46 59,64 87.57
200 Aug 1967 60.05 39.87 56.26 77.39 39.01 59.72 89.18
201 Sept 1967 59.74 39.69 56.04 77.26 40.93 6191 90.19
202 Oct 1967 59.43 39.49 55,86 77.12 40.30 60.56 90.27
203 = Nov 1967 59.13 39.31 55.71 76.98 44.01 68.01 99.90
204 Dec 1967 58.83 39.12 55,50 76.83 ALO4 63.60 97.99
4 Historical Reconstruction of Drinking-Water Contamination at Tarawa Terrace

and Vicinity, U.S. Marine Corps Base Camp Lejeune, North Carolina
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Attachment 4: ATSDR Response to DON Letter of June 19, 2008

Appendix I5. Simulated concentrations of tetrachloroethylene in finished water at the water treatment plant, Tarawa Terrace,

U.S. Marine Corps Base Camp Lejeune, North Carolina —Continued

|PCE, tetrachloroethylene; pg/L, microgram per liter: P,., Monte Carlo simulation results for the 2.5 percentile: P,,, Monte Carlo simulation results for

the 30 percentile: P

yns*

Apr, April: Aug, August; Sept, September; Oct, October; Dec, December]

Monte Carlo simulation results for the 97:5 percentile: WTP, water treatment plant; Jan, January; Feb, February; Mar, March;

Range of concentrations derived from Monte Carlo simulations’

Stress Month ——_—althrated FUE Monte Carlo simulation (Scenario 1) Monte Carlo simulation (Scenario 2}!
erie) Ean eee in pg/L! Py Pay Post Ply Poy Post
in pa/L in pg/L in pg/L in pg/L ingg/L in pg/L
205 Jan 1968 58.41 38.91 55.32 76.43 40.60 63.04 98.22
206 Feb 1968 57.95 38.69 55.12 75.94 39.51 63.91 98.67
207 Mar 1968 57.43 38.44 54.74 75.51 41.62 63.54 94.21
208 Apr 1968 56.94 38.22 54.56 75.12 42.61 65.79 99.98
209 May 1968 56.45 37.99 54.20 74.61 39.39 62.35 92.79
210 June 1968 55.98 37.72 53.86 74.13 37.49 57.23 84.15
211 July 1968 55.49 37.46 53.50 73.63 37.51 36.92 $3.56
212 Aug 1968 55.02 37.31 53.27 73.27 37.52 58.08 84.83
213 Sept 1968 54.58 37.16 53.00 73.05 40.06 60.24 89.84
214 Oct 1968 54.13 36.94 52.72 72.83 37.61 59.46 87.96
215 Nov 1968 53.71 36.71 52.49 72.61 42.84 64.11 96.77
216 Dec 1968 53.28 36.45 52.16 72.34 39.36 60.93 93.74
217 Jan 1969 53.07 36.40 52.03 72.40 37.42 60.60 90.38
218 Feb 1969 52.97 3641 52.07 72.32 38.68 63.83 100.33
219 Mar 1969 52.94 36.41 52.21 72.23 40.85 62.20 90.15
220 Apr 1969 52.93 36.50 52.33 72.58 4171 63.74 95.37
221 May 1969 52.93 36.55 52.41 72.94 40.51 60.54 94.64
222 June 1969 52.92 36.59 52.49 73.24 37.99 56.86 82.85
223 July 1969 52.90 36.61 52.54 73.52 35.02 57.32 85.75
224 Aug 1969 52.86 36.63 52.71 73.77 36.90 57.85 85.34
225 Sept 1969 52.81 36.64 52.74 73.98 39.74 59.97 89.19
226 © Oct 1969 52.75 36.64 52.75 74.13 37.64 59.44 92.22
227 Nov 1969 55.19 38.34 55.24 77.72 36.74 55.89 84.87
228 Dec 1969 55.19 38.30 55.23 77.10 32.94 51.96 81.13
229 Jan 1970 55.01 38.10 55.14 71.54 32.78 50.97 $1.62
230 Feb 1970 54.79 37.97 55.03 77.34 33.13 52.80 $3.08
231 Mar 1970 54.49 37.71 54.76 77.08 32.85 52.72 79.35
232 Apr 1970 54.20 37.46 54.48 76.72 34.85 54.22 82.26
233 May 1970 53.90 37.21 54.17 76.27 33.91 51.26 78.11
234 June 1970 53.61 37.01 53.91 75.89 29.54 47.08 m7
235 July 1970 53.32 36.82 53.59 75.68 28.77 46.80 72.48
236 Aug 1970 53.04 36.64 53.32 75.44 29.60 47.37 70.90
237 Sept 1970 52.78 36.47 53.06 75.25 31.55 49.00 74.82
238 Oct 1970 52.53 36.31 52.78 75.02 30.14 48.10 73.55
239 = Nov 1970 52.29 36.19 52.67 74.93 32.50 53.01 81.51
240 Dee 1970 52.05 36.05 52.54 74.88 32.47 48.94 76.35
241 Jan 1971 51.96 35.96 52,53 75.02 30.00 48.86 77.29
242 Feb 1971 31.93 35.90 22.30 7319 32.51 50.78 80.73
243 Mar 1971 51.95 35.87 52.60 75.42 32.25 49.82 78.27
244 Apr 1971 51.99 35.86 52.73 75.65 32.74 52.65 81.01
245 May 1971 52.03 35.86 52.88 75.88 30.15 49.32 76.96
246 June 1971 52.08 35.85 52.86 76.11 29.02 45.87 72.87
247 July 1971 $2.12 35.92 52.88 76.35 29.03 45.64 72.37
248 Aug 1971 52.16 35.93 52.97 76.52 29.30 46.61 71.75
249 Sept 1971 $2.20 35.93 53.07 76.72 30.33 48.38 74.56
250 Oct 1971 52.23 35.95 53.13 76.91 29.27 46.98 73.25
251 Nov 1971 52.26 35.98 53.25 77.05 32.40 52.55 $2.47
252 Dec 1971 52.29 35.91 53.28 77.28 30.91 49.57 76.35
Chapter |: Parameter Sensitivity, Uncertainty, and Variability Associated with Model Simulations of 5

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Attachment 4: ATSDR Response to DON Letter of June 19, 2008

Appendix I5. Simulated concentrations of tetrachloroethylene in finished water at the water treatment plant, Tarawa Terrace,
U.S. Marine Corps Base Camp Lejeune, North Carolina —Continued

[PCE, tetrachloroethylene: j1g/L, microgram per liter; P,,, Monte Carlo simulation results for the 2.5 percentile: P,,, Monte Carlo simulation results for
the 50 percentile; P,, ,, Monte Carlo simulation results for the 97.3 percentile; WTP, water treatment plant; Jan, January; Feb, February; Mar, March;
Apr, Apnil; Aug, August; Sept, September; Oct, October; Dec, December]

Range of concentrations der ved from Monte Carlo simulations*®

Calibrated PCE

Stress Month Piscanivating: Monte Carlo simulation (Scenario 1} Monte Carlo simulation (Scenario 2)'
wee oe in pg/L! Pa Por Fae Pha Py Pat

in po/L in pg/L inpo/L in pg/L in pg/L in po/k
253 Jan 1972 49,34 33.93 50,30 73.12 29,17 48.14 77.82
234 Feb 1972 49,01 AB a2 50.06 72.93 30,19 50.33 81.13
255 Mar 1972 48.68 33.47 49,71 72.72 31.69 48.44 75.80
256 Apr 1972 48.40 33.25 49.54 72.47 30.79 50.77 79.48
257 May 1972 48.14 33.10 49,27 72.26 30.44 48.53 7397
258 June 1972 47.90 32.98 49,08 T2317 27.68 44,98 68.87
259 July 1972 47.67 32.85 48.97 72:02 27,13 43.58 66.62
260 Aug 1972 47.45 32,72 48.78 71.78 26.91 43.63 68.46
261 Sept 1972 47,25 32,60 48.69 71.47 28,10 46.38 72.80
262 Oct 1972 47.05 32,49 48.58 71.34 28.15 44.90 70.07
263 Nov 1972 46,87 32.41 48.43 71.26 30.68 49.80 78.83
264 Dec 1972 46.69 32,29 48.21 TLA6 38.36 46.21 76,56
265 Jan 1973 54,28 a7.o2 36,04 $2.79 27,54 44,70 Tao]
266 Feb 1973 34.19 37.39 55,96 82.69 29.05 47.31 78.50
267 Mar 1973 53,98 a7 0S 55.78 $2.35 28,09 46,20 73.11
268 Apr 1973 53,76 36,91 35.44 $1.94 28.95 46,73 TLS2
269 May 1973 5552 36.68 55,24 81.51 26.12 45.17 70.36
270 June 1973 53,30 36.46 55,22 81.10 25.61 40.75 66.70
271 July 1973 53,08 36.24 55,12 80.74 25.25 40,82 63.84
2712 Aug 1973 52.87 36.03 54.99 $0.59 25.02 41.47 64.39
273 Sept 1973 52.68 35.84 34.88 80.46 26.43 43,33 68.68
274 Oct 1973 52.51 35.66 54.87 80.34 26.17 41.28 65.28
275) Noy 1973 52.35 35.49 34.80 $0.25 Ik 45.41 72.92
276 Dec 1973 52.20 35.33 34.72 80.17 25.66 43:21 68.89
277 Jan 1974 $2.43 35.41 4.97 S049 25.72 42.62 69,65
278 Feb 1974 32.82 35.59 55.42 $0.98 26.19 43.80 72.53
279 Mar 1974 53.39 35.86 55,92 81.66 25.08 42.86 68.49
280 Apr 1974 33.99 36.16 36,60 S24] 28.14 45.59 7128
281 May 1974 $4.63 36.49 37.21 $3.20 25.84 42,70 72.49
282 June 1974 50425 36.80 57.69 $4.15 25.00 40,00 64.50
283 July 1974 35.90 37.13 58,15 85.07 24,17 40.57 65.57
284 Aug 1974 56,53 37.50 58.85 85.98 24,29 40,75 65.98
285 Sept 1974 57.10 37.85 59.43 86.86 2722 43,16 69.98
286 Oct 1974 57.70 38.22 60,00 87.74 75.22 42.68 67.27
287 Nov 1974 58,30 38.56 60,59 88.58 28.99 47,52 76.53
288 Dec 1974 58.92 38.98 61.11 89.45 25,07 44,15 72.46
289 Jan 1975 61.00 40,30 63.17 92.62 27.61 45,83 743
290 Feb 1975 61.24 40,39 63.33 92.97 28.46 48.17 $0.43
291 Mar 1975 61.41 40.51 63.43 93.20 28,98 46,39 77.50
292 Apr 1975 61.57 40.61 63,45 93.38 29,37 48,59 $2.56
293 May 1975 61.72 40.78 63.62 93.32 28.00 46,55 76.49
294 June 1975 61,88 40.92 ba Ty 93.48 24,95 42,93 67.44
295 July 1975 62.05 41.05 64.04 93.91 25,59 42,20 68.93
296 Aug 1975 62.25 41.13 64.22 94.27 26,2 42,72 68.78
297 Sept 1975 62.46 41.20 64.36 94.54 25.88 44,92 73.09
298 Oct 1975 62.69 41.18 64.05 94.84 26,24 43,56 70.58
299 Nov 1975 62,92 41.12 64.91 95.15 27.40 49,02 80.06
300) Dec 1975 63.18 41.12 65,11 95.44 26,233 45.41 76.07

6 Historical Reconstruction of Drinking-Water Contamination at Tarawa Terrace

and Vicinity, U.S. Marine Corps Base Camp Lejeune, North Carolina
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Attachment 4: ATSDR Response to DON Letter of June 19, 2008

Appendix 15. Simulated concentrations of tetrachloroethylene in finished water at the water treatment plant, Tarawa Terrace,
U.S. Marine Corps Base Camp Lejeune, North Carolina —Continued

[PCE, tetrachloroethylene; ug/L, microgram per liter; P,,, Monte Carlo simulation results for the 2.5 percentile; P.,, Monte Carlo simulation results for
the 50 percentile; P,, .. Monte Carlo simulation results for the 97.5 percentile; WTP, water treatment plant; Jan, January: Feb, February; Mar, March:
Apr, April: Aug, August; Sept, September; Oct, October; Dec, December]

Range of concentrations derived from Monte Carlo simulations*

Calibrated PCE

a oe : concentration, Monte Carlo simulation (Scenaria 1? Monte Carlo simulation (Scenario 2)
in wg/L! Py Por Paya Poy Poy Past

in pg/L in pg/L in pg/L inp in pg/L in pg/L
301 Jan 1976 73.96 48.06 76.13 111.62 27.44 47,37 78.75
302 Feb 1976 74,94 48.64 77.01 112.96 28.08 50,08 82.73
303 Mar 1976 75.97 49,28 7788 114.29 30.00 49,48 77.65
304 Apr 1976 76,97 49,90 78.87 115.66 29.89 51.83 83.45
305 May 1976 78.00 30.66 79.94 117.25 28.96 49,32 81.75
306 June 1976 79,02 51.42 80.86 118.78 27.37 44,69 74.98
307 July 1976 80.07 52.20 81.82 120.35 28.29 45.16 735.62
308 Aug 1976 81.13 32,86 82.70 121.82 27.95 46,57 76.48
309 Sept 1976 82.17 33.3] 83.71 123.46 29.17 49,14 79.62
310 Oct 1976 83,25 54.25 84.81 124.74 28.92 48.10 80.30
311 Nov 1976 84.31 55.09 85.76 126.00 31.09 53.61 90.47
312 Dec 1976 $5.41 55,90 86.67 127.61 28,21 30,51 82,95
313 Jan 1977 86.61 56,70 87.66 129.36 28.88 49,71 81.57
314 Feb 1977 87.70 57.45 88.70 131.09 30.18 52.13 85.43
315 Mar 1977 88.91 38.14 89.80 133.02 29.18 51.65 83.61
316 Apr 1977 90.10 58.86 90.90 134,30 32.23 54,40 88.91
317 May 1977 91.32 59.6] 91.86 135.48 30.43 50.86 86.19
318 June 1977 92.53 60.38 93.08 136.61 28.97 47,43 78.24
319. July 1977 93.75 61.24 94.29 137,80 29.03 47,45 77.48
320 Aug 1977 94,99 62.11 95.48 139,43 28.20 48.28 81.51
321 Sept 1977 96,20 62.97 96.44 140,89 30.24 30,29 85.19
322 Oct 1977 97.42 63.86 97,49 142,51 28.33 51.14 82.53
323 Nov 1977 98.62 64.58 98.62 144.08 32.33 56,02 92.86
324 Dec 1977 99,84 65.31 99.65 145,59 29.86 3322) 90.47
325 Jan 1978 101,18 66.16 101.09 147,13 44.02 75,70 120,92
326 Feb 1978 102.77 67.25 102.62 148.91 39.93 67.26 112.3]
327 Mar 1978 103.04. 67.39 103.04 149.08 52.50 84.64 133.87
328 Apr 1978 104.31 68.24 104.52 150,32 46.79 76.94 126.94.
329 May 1978 105.19 68.8] 105.34 151.12 50.49 85.95 136.76
330 June 1978 106.88 70.00 107.10 153.19 42.45 73.13 LL919
331 July 1978 107.95 70.77 108.05 154.56 45.08 75.24 121.43
332 Aug 1978 108.69 71.12 108.58 135.63 48.54 80.46 135.92
333 Sept 1978 109.61 71.68 109.40 156.91 48.81 83.51 139.85
334 Oct 1978 111.18 72.89 110.78 158.60 44,55 75.04 121.83
335 Nov 1978 111.08 72.99. 110.76 158.33 59.23 100.40 162.58
336 Dee L978 111.93 73.52 11.71 159.48 38.45 100.01 162.64.
337 Jan 1979 113,14 74.30 112.93 161.01 57.81 95,20 164.77
338 Feb 1979 114.05 74.80 113.75 162.04 38.23 99.50 166.62
339 Mar 1979 114.98 75:32 114.60 163,14 39,2] 101.26 162.26
340 Apr 1979 113.82 76.01 115.14 164.14 64.03 103.77 169.77
341 May 1979 116.68 76.83 115.85 165.22 60,49 104.49 166,33
342 June 1979 117.47 T1356 116.62 166.12 37.29 95.08 158.63
343 July 1979 118.29 78.22 117.32 166.52 60.76 97.83 159.43
344 Aug 1979 119.08 78.87 117.95 167.11 60,40 101.30 162.28
345 Sept 1979 119.83 79.50 118.62 167.82 67.04 105.09 167.67
346 Oct 1979 120,59 80.14 119.49 168.59 63.07 104.48 172.01
347 Noy 1979 12131 80.74 120,12 169,34 74.24 119,14 191.45
348 Dec 1979 122.04 81.35 120,77 170.09 68.90 113.89 186,42

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Attachment 4: ATSDR Response to DON Letter of June 19, 2008

Appendix 5. Simulated concentrations of tetrachloroethylene in finished water at the water treatment plant, Tarawa Terrace,
U.S. Marine Corps Base Camp Lejeune, North Carolina —Continued

[PCE, tetrachloroethylene: j1g/L, microgram per liter; P,,, Monte Carlo simulation results for the 2.5 percentile: P,,, Monte Carlo simulation results for
the 50 percentile; P,, ,, Monte Carlo simulation results for the 97.3 percentile; WTP, water treatment plant; Jan, January; Feb, February; Mar, March;
Apr, Apnil; Aug, August; Sept, September; Oct, October; Dec, December]

Range of concentrations derived from Monte Carlo simulations*
Calibrated PCE

oe concentration Monte Carlo simulation (Scenario 1)° Monte Carlo simulation (Scenario 2)
perio and year 4

in pg/l! Pa Po ee Ps Ps. ae
in pg/L in po/L in pg/L in pg/L in po/l in po/L
349 Jan 1980 123.28 82.20 122.09 171.34 61.30 101.54 159.81
350 Feb 1980 122.98 81.93 121.80 171.45 77.70 131.23 206.13
351 Mar 1980 124.03 82.63 122.99 172.63 67.73 114.94 183.21
352 Apr 1980 123.90 82.42 123.27 172.41 86.02 143.61 229.05
353. May 1980 124.69 82.89 123.73 173.81 $5.23 138.95 220.28
354 June 1980 125.83 83.92 124.67 175.54 80.14 128.55 203.28
355 July 1980 0.72 0.10 0.43 1.67 0.06 0.32 1.22
356 Aug 1980 0.75 O.11 0.45 1.73 0.07 0.34 1.28
357 Sept 1980 121.36 80.64 120.61 170,25 74.54 128.20 195.86
358 Oct 1980 121.72 80,95 121.00 170,55 $2.88 137.09 215.09
359 Nov 1980 122.14 81.32 121.73 171.07 89.83 145.35 231.15
360 Dec 1980 122.95 81.96 122.56 171.97 87.97 143.51 226.80
361 Jan 1981 114.05 76.20 113.83 159.33 81.35 131.65 210.19
362 Feb 1981 114,39 76.42 114.22 159.76 71.73 120,32 185.47
363. Mar 1981 115.60 77.32 115.10 161.62 65.38 104,23 164.75
364 Apr 1981 116.55 78.07 116.07 163.34 61.89 101.55 158.35
365 May 1981 117,30 78.64 116.91 164.52 63.14 99.62 156.29
366 June 1981 118.36 79.53 117.92 165,37 54.95 86.73 140.98
367 July 1981 133.29 89.77 132.96 186.08 58.22 92.47 142.21
368 = Aug 1981 134,31 90.57 133.94 187,73 59.68 95.47 151.17
369 Sept 1981 120.72 81.40 120.32 168.91 58.90 98.56 150.82
370 = Oct 1981 121.04 81.71 120.86 169.57 61.42 99.80 157.59
371 = Nov 1981 121.41 82,04 121.17 170.30 60.76 101.36 158.08
372 = Dec 1981 121.81 82.41 121.56 171.08 63.30 102.27 160.36
373. Jan 1982 103.95 70.61 103.86 145.41 55.35 91.05 141,55
374 Feb 1982 105.86 71.96 105.76 147.68 56.60 92.63 140.40
375 Mar 1982 107.52 73.05 107.51 149,67 59.57 93.91 147.10
376 Apr 1982 108.83 74.01 108.79 151.25 58.43 97.00 147.50
377 May 1982 148,50 101.45 147.91 206,23 66.65 107.89 166.05
378 © June 1982 110,78 75.70 110.41 153.60 61.01 99.03 151.27
379 July 1982 111.98 76.77 111.69 154.90 62.24. 97.91 154.37
380 == Aug 1982 113.07 77.74 112.66 156.03 63.70 99,09 152.90
381 Sept 1982 114,04 78.49 113.60 157,00 65.21 100.91 153.98
382 Oct 1982 114.60 79,03 lid.id 157.69 67.41 108.99 165.07
383. = Nov 1982 113.87 78.41 113.67 157.37 88.82 142.12 223.75
384. Dec 1982 115.16 79,21 114.95 158.89 79.98 128.05 193.75
385 Jan 1983 1.25 0.25 0.75 2.48 0.17 0.61 1.90
386 Feb 1983 1.29 0.27 0.78 2.56 0.18 0.63 1.94
387 = Mar 1983 111.76 77.09 112.19 156.29 78.57 123.82 194.41
388 Apr 1983 112.66 7792 112.99 157,31 JAAR 119.77 182.63
389 May 1983 113.97 79,21 114.10 158.82 70.85 117.76 174.86
390 June 1983 106.10 74.18 106.03 147.67 68.30 103.53 162.13
391 July 1983 116.70 8148 116.62 162.17 66.41 108.10 166.88
392 Aug 1983 117,72 82,09 117.54 163,39 67.97 107.12 161,29
393. Sept 1983 117,83 82.03 117.63 163.40 76.74 120.27 183.16
394 Oct 1983 117.97 82.03 117.88 163.53 84.95 133.04 207,24
395 Nov 1983 118,63 82.60 118.70 164.81 89.04 142.71 224,56
396 = Dec 1983 120,78 84.23 120.74 167.35 72.65 113.38 171,38
8 Historical Reconstruction of Drinking-Water Contamination at Tarawa Terrace

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Appendix I5. Simulated concentrations of tetrachloroethylene in finished water at the water treatment plant, Tarawa Terrace,
U.S. Marine Corps Base Camp Lejeune, North Carolina Continued

| PCE, tetrachlorvethylene; fig/L, microgram per liter; P,., Monte Carlo simulation results for the 2.5 percentile; P,,, Monte Carlo simulation results for
the 50 percentile; P,. ., Monte Carlo simulation results for the 975 percentile; WTP, water treatment plant; Jan, January; Feb, February; Mar, March;
Apr, Apri Aug, August; Sept, September: Oct, October; Dec, December]

Range of concentrations derived from Monte Carlo simulations®

Stress Month aan ane Monte Carlo simulation (Scenario 1)’ Monte Carlo simulation (Scenario 2}'
period and year - \
in pg/L Pay Pay Paras Py Poy Paw
in po/k in pg/L in pg/L in pg/L in pg/L in pg/L
397 Jan 1984 132.87 92.63 133,27 185.03 103.04 159.84 247.01
398 Feb 1984 180.39 126.52 180.97 249.43 94.25 150.35 230.69
399 Mar 1984 183.02 128.61 183.55 252.30 99.38 139.70 240.42
400 Apr 1984 151.46 106.37 15154 208.97 97.90 153.71 236.45
401 May 1984 153.42 107.63 153.20 211.358 92.85 146.63 220.85
402 June 1984 182.13 127.45 181,99 250.37 94.11 152.75 228.36
403 July 1984 136.39 109.41 156.40 214.58 101.95 160.97 234.39
404 Aug 1984 170.47 106.73 138.25 238.65 108.76 168.54 261.54
405 Sept 1984 181.22 113.28 168.51 253.93 117.33 184.30 295.64
406 Oct 1984 173.73 108.42 161.84 245.02 120.12 182.33 281.84
407 Nov 1984 173.77 108.41 161.92 245.70 124.18 187.60 287.36
408 Dec 1984 173.18 107.82 161.69 246.06 127.83 193.30 301.23
409 Jan 1985 176.12 109.98 164.71 231.48 123,98 187.00 293.19
410 Feb 1985 3.64 1.13 2.67 6.57 0.47 L4l 3.74
411 Mar 1985 8.71 3.21 6.58 14.79 8.83 20.01 41.59
412 Apr 1985 8.09 2.99 6.16 13.70 9.00 20.41 42.30
413 May 1985 4.76 1.50 3.46 $.36 0.58 1.68 447
414 June 1985 3.14 1,65 3.80 9.21 0.64 LS 4.78
415 July 1985 3.54 1.80 412 10,04 0.69 1.96 5.12
416 Aug 1985 6.01 1.98 4,50 10.97 0.76 2,14 5.56
417 Sept 1985 6.50 2.19 4.88 11.89 0.83 2.30 6.03
418 Oct 1985 7.06 2.43 5.33 12.88 0.92 2,53: 6.53
419 Nov 1985 7.64 2.68 5.78 13.90 1.02 2.76 7.07
420 Dec 1985 $.27 2:93 6.32 14.99 1.13 3.00 759
421 Jan 1986 $.85 3.18 6.82 15.87 1.24 3.22 8.14
422 Feb 1986 9.42 3.45 7.30 16.67 1.35 3.46 §.69
423 Mar 1986 12.14 4.355 9.43 21.18 1.85 4.67 11.50
424 Apr 1986 10.83 4.09 8.44 18.7] 1.64 4.08 9.90
425 May 1986 11.56 4.42 9.06 19.63 1.79 441 10.49
426 June 1986 12.28 4.77 9.70 20.59 1.94 4.76 11.08
427 July 1986 13.06 3.14 10.33 21.75 2.11 3.12 V1.7
428 Aug 1986 13.84 3.54 11.01 23.04 2.29 5.51 12.50
429 Sept 1986 14.61 3.90 11.70 24,30 2.49 5.89 13.19
430 Oct 1986 15.42 6.28 12.41 25.59 241 6.33 13,94
431 Nov 1986 16.21 6.66 13.11 26,70 2,93 6.73 14.77
432 Dec 1986 17.03 7.06 13.77 27.86 3.17 7,20 13.65
433 Jan 1987 17.85 747 14.46 29.04 3.41 7.66 16.46
434 Feb 1987 18.49 7.82 15,02 2.91 3.62 8.04 17.16
435 Mar 1987 WTP closed

‘Results from Faye (2008) and reported in Maslia et al. (2007, Appendix A2)
*P,., and P, represent the upper and lower bound, respectively, of 95 percent of Monte Carlo simulations; for a Gaussian (normal) distribution, the
inedian (P,,) should equal the mean value

‘Scenario | Monte Carlo simulation is for pumping uncertainty excluded

‘Scenario 2 Monte Carlo simulation is for pumping uncertainty meluded

Chapter |: Parameter Sensitivity, Uncertainty, and Variability Associated with Model Simulations of 9
Groundwater Flow, Contaminant Fate and Transport, and Distribution of Drinking Water
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RESPONSE TO THE DEPARTMENT OF THE Navy’s LETTER ON ASSESSMENT OF ATSDR Water
NIoDELING FOR TARAWA TERRACE

ATTACHMENT 5: A PractTicaAL METHOD To EVALUATE GROUND WATER PLUME STABILITY
(RickER 2008)

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Attachment 5: ATSDR Response to DON Letter of June 19, 2008

Monitoring&Remediation

A Practical Method to Evaluate Ground Water
Contaminant Plume Stability

by Joseph A, Ricker

Abstract

Evaluating plume stability is important for the evaluation of natural attenuation of dissolved chemicals in ground water.
When characterizing ground water contaminant plumes, there are numerous methods for evaluating concentration data. Typ-
ically, the data are tabulated and ground water concentrations presented on a site figure. Contaminant concentration isopleth
maps are typically developed to evaluate temporal changes in the plume boundaries, and plume stability is often assessed by
conducting trend analyses for individual monitoring wells. However, it is becoming more important to understand and effec-
tively communicate the nature of the entire plume in terms of its stability (.e., is the plume growing, shrinking, or stable?).
This article presents a method for evaluating plume stability using innovative techniques to calculate and assess historical
trends in various plume characteristics, including area, average concentration, contaminant mass, and center of mass. Con-
taminant distribution isopleths are developed for several sampling events, and the characteristics mentioned previously are
calculated for each event using numerical methods and engineering principles. A statistical trend analysis is then performed
on the calculated values to assess the plume stability. The methodology presented here has been used at various contami-
nated sites to effectively evaluate the stability of contaminant plumes comprising tetrachloroethene, carbon tetrachloride,
pentachlorophenol, creosote, naphthalene, benzene, and chlordane. Although other methods for assessing contaminant
plume stability exist, this method has been shown to be efficient, reliable, and applicable to any site with an established
monitoring well network and multiple years of analytical data.

Introduction

Evaluating plume stability is important for the evalua-
tion of natural attenuation of dissolved chemicals in
ground water. U.S. EPA (1998) states that the primary line
of evidence in evaluating natural attenuation is historical
ground water chemistry data that demonstrate a clear and
meaningful trend of decreasing contaminant mass and/or
concentration over time at appropriate monitoring or sam-
pling points. When characterizing ground water contami-
nant plumes, there are numerous methods for evaluating
concentration data.

Wiedemeier et al. (2000) discussed common ap-
proaches for evaluating plume stability using both graphi-
cal and statistical techniques. Graphical methods include
the following: (1) the preparation of contaminant concen-
tration isopleth maps; (2) plotting concentration data vs.
time for individual monitoring wells; and (3) plotting con-
centration data vs. distance downgradient for several moni-
toring wells. Common statistical methods for evaluation of

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temporal and spatial trends include regression analysis
(U.S. EPA 2006), the Mann-Whitney U-test (Mann and
Whitney 1947), and the Mann-Kendall test (U.S. EPA
2006; Gilbert 1987).

Graphical plume stability analysis by comparing iso-
pleth maps over time can provide compelling visual evi-
dence for natural attenuation. However, a comparison of
apparent plume size over time does not always provide
a complete analysis. Consider, for example, the case of
a plume that discharges to a surface water body, or a plume
geometry that is persistent over time. In this case, the
plume area would remain relatively unchanged, whereas
the overall plume average concentration and mass may be
decreasing. The change in plume mass would not be nec-
essarily reflected in the visual analysis of isopleth maps.
However, a quantitative analysis of changes in overall
plume concentration and mass would provide a better
understanding of the plume stability.

A common approach for evaluating plume stability is
the use of statistical analysis techniques for single-well
data. However, chemical concentration trends at individual
monitoring wells may show different trends. For example,
at a given site, there may be wells exhibiting decreasing

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RESPONSE TO THE DEPARTMENT OF THE Navy’s LETTER ON ASSESSMENT OF ATSDR WatTeR
NIoDELING FOR TARAWA TERRACE

ATTACHMENT 6: OBSERVED AND SIMULATED WATER LEVELS, MODEL LAYER 1, AND
CALIBRATION TARGETS FOR (A) PREDEVELOPMENT (STEADY STATE) CONDITIONS AND
(B) TRANSIENT CONDITIONS, 1951-1994, TARAWA TERRACE AND VICINITY, U.S. MARINE
Corps Base Camp LeJeEUNE, NORTH CAROLINA (FROM MASLIA ET AL. 20078, Figure A10)

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Attachment 6: ATSDR response to DON letter of June 19, 2008

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OBSERVED WATER LEVEL, IN FEET ABOVE OR BELOW (-)
NATIONAL GEODETIC VERTICAL DATUM OF 1929

EXPLANATION

Line of equality

— — Calibration target, monitor-well data + 3 feet

----- Calibration target, supply-well data + 12 feet
e Monitor well and simulated paired data point

+ Supply well and simulated paired data point

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RESPONSE TO THE DEPARTMENT OF THE Navy’s LETTER ON ASSESSMENT OF ATSDR Water
NIoDELING FOR TARAWA TERRACE

ATTACHMENT 7: SUMMARY OF CALIBRATION TARGETS AND RESULTING CALIBRATION
STATISTICS FOR SIMULATION MODELS USED TO RECONSTRUCT HISTORICAL CONTAMINATION
EVENTS AT TARAWA TERRACE AND Vicinity, U.S. Marine Corps Base Camp LEJEUNE,
NorTH CAROLINA (FROM Mas.ia ET AL. 20078, TABLE A8)

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Table A8. Summary of calibration targets and resulting calibration statistics for simulation models used to reconstruct historical
contamination events at Tarawa Terrace and vicinity, U.S. Marine Corps Base Camp Lejeune, North Carolina.

Resulting “Number of

ee Analysis type Calibration target® calibration paired data
statistics’ points (N)
] Predevelopment (no pumping) Magnitude of head difference: 3 feet | An | =1.9 ft 359
groundwater flow ao=15ft
RMS = 2.1 ft
2 Transient groundwater flow— Magnitude of head difference: 3 feet | Ah |=14 fi 263
monitor wells c= 09 ft
RMS = 1.7 ft
Transient groundwater flow— Magnitude of head difference: |2 feet [An |=7.1ft 526
supply wells Gt
RMS =8.5 ft
3 Contaminant fate and transport— Concentration difference: + one-half Geometric bias 130
supply wells order of magnitude or model bias (8) } "B= 5.8/3.9
ranging from 0.3 to 3 7
4 Mixing model—treated water at Concentration difference: + one-half Geometric bias £5

waler treatment plant order of magnitude or model bias (B), ) B=15
ranging from 0.3 to 3

‘Refer to the Chapter C report (Faye and Valenzuela In press 2007) for calibration procedures and details on levels | and 2
“Refer to the Chapter F report (Faye In press 2007b) for calibration procedures and details on levels 3 and 4

‘Head difference is defined as observed water level (hy) minus simulated water level hin ); Magnitude of head difference is defined as:
|Ah|= |h,,, —4,,, |; a concentration difference of + one-half order of magnitude equates to a model bias of 0.3 to 3, where, B, = model bias and is defined as:

Bo=C IC, where Cis the simulated concentration and C.,, is the observed concentration: when B= 1, the model exactly predicts the observed
concentration, when B > 1, the model overpredicts the concentration, and when #&, < 1. the model underpredicts the concentration

— N
“Average magnitude of head difference is defined as: Aa = <5 [As ; standard deviation of head difference is defined as: ¢ =
i=l

N-1

'
aus . ; 2 ‘ aps ors |i ape? ap:
where Af is the mean or average of head difference: root-mean-square of head difference is defined as: RMS = wes Ah’ | ; geometric bias. #, 1s
isl ‘

Somn(8,,

defined as: B. = exp| =! , Where In () is the Naperian logarithm

‘A paired data point is defined as any location with observed data that is associated with a model location for the purpose of comparing observed data with
model results for water level or concentration

°B, =5.8 computed using all water-supply wells listed in table A9, B,=3.9 computed without considering water-supply well TT-23—See text for explanation

‘Observed concentration of 17 samples recorded as nondetect (see Table A9) and are not used in computation of geometric bias

*Observed concentration of 15 samples recorded as nondetect (see Table ALO) and are not used in computation of geometric bias

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RESPONSE TO THE DEPARTMENT OF THE Navy’s LETTER ON ASSESSMENT OF ATSDR WateR
NIoDELING FOR TARAWA TERRACE

ATTACHMENT 8: STOPPING (CONVERGENCE) CRITERIA RESULTS FOR Monte CARLO
SIMULATIONS (SCENARIO 1—-PUMPING UNCERTAINTY EXCLUDED) SHOWN AS RELATIVE CHANGE

IN: (@) ARITHMETIC MEAN OF PCE CONCENTRATION (C), (BD) STANDARD DEVIATION OF PCE
CONCENTRATION (oC), AND COEFFICIENT OF VARIATION OF PCE CONCENTRATION (C.),
TARAWA TERRACE AND VICINITY, U.S. Marine Corps Base Camp LEJEUNE,
NorTH CAROLINA (FROM Mas.ia ET AL. 2008, Ficure 126)

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Attachment 8

a. Arithmetic mean of PCE concentration (C)
5

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b. Standard deviation of PCE concentration (o;)
5 aor

RELATIVE CHANGE (AC), IN PERCENT
=

Upper bound +0.25 percent

Tt

tt TT

I
RELATIVE CHANGE (Ac), IN PERCENT

Lower bound -0,25 percent
—] 4
—) |
3 4
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4 a a ee & pe eg eg a lt a ey dt i
0 100 200 300 400 500 600 0 100 200 300 400 500 600
a . NUMBER OF MONTE CARLO SIMULATIONS (REALIZATIONS)
ec. Coefficient of variation of PCE concentration (C,)
Bo
4 rT 4
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Ss 3 baa ——— === = 5 5 -| Figure 126. Stopping (convergence) criteria results
SR re ees ee ee Oe for Monte Carlo simulations (scenario 1—pumping
= uncertainty excluded) shown as relative change
a 71 in: (a) arithmetic mean of PCE concentration (C),
= 2+ (b) standard deviation of PCE concentration (o,,), and
a - (c) coefficient of variation of PCE concentration (C,),
xf | Tarawa Terrace and vicinity, U.S. Marine Corps Base
4 4 Camp Lejeune, North Carolina. [See Table 113 for
mathematical formulae and definitions of metrics;
ee ee i PCE, tetrachloroethylene]
0 100 200 300 400 500 600
NUMBER OF MONTE CARLO SIMULATIONS (REALIZATIONS)
Chapter i: Parameter Sensitivity, Uncertainty, and Variability Associated with Model Simuiations of 7

Groundwater Flow, Contaminant Fate and Transport, and Distribution of Drinking Water
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Analyses of Groundwater Flow, Contaminant Fate and Transport, and Distribution of Drinking Water at Tarawa Terrace and Vicinity,
U.S. Marine Corps Base Camp Lejeune, North Carolina; Historical Reconstruction and Present-Day Conditions—
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